           25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 1 of 83

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                             Western District of Texas

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Cowan Fitness South Round Rock LLC


    2. All other names debtor used                Orangetheory
       in the last 8 years
                                     Orangetheory Fitness
     Include any assumed names,      Orangetheory Fitness Louis Henna
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  4       7 – 5    5   5    3   3    6   4
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   661 Louis Henna Blvd                                        808 Shady Bluff Cv
                                                   Number          Street                                      Number        Street

                                                   Round Rock, TX 78664-4109                                   Round Rock, TX 78665-5644
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Williamson                                                  place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     orangetheory.com


    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
          25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 2 of 83

Debtor      Cowan Fitness South Round Rock LLC                                                                  Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   8      1     2     9

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?
                                                ❑ Chapter 9
                                                ✔ Chapter 11. Check all that apply:
                                                ❑
                                                   ✔ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                   ❑
                                                              are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                       ❑
                                                              business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if all of these documents do not exist, follow the
                                                              procedure in 11 U.S.C. § 1116(1)(B).
                                                       ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                       ❑
                                                              proceed under Subchapter V of Chapter 11.
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ❑ No
                                                ✔ Yes. Debtor Cowan Fitness North Round Rock LLC
      or being filed by a business partner
      or an affiliate of the debtor?            ❑                                                                             Relationship Affiliate

     List all cases. If more than 1, attach a             District Western District of Texas                                   When          3/24/2025
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
            25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 3 of 83

Debtor        Cowan Fitness South Round Rock LLC                                                         Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.
                                      ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                      ❑
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ✔ $50,001-$100,000
                                       ❑                                     ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
            25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 4 of 83

Debtor        Cowan Fitness South Round Rock LLC                                                               Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                        ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     03/24/2025
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Greg Cowan                                                                        Greg Cowan
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title                Managing Member



         18. Signature of attorney
                                               ✘                       /s/ Frank B Lyon                             Date      03/24/2025
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Frank B Lyon
                                                   Printed name


                                                    Frank B Lyon
                                                   Firm name


                                                    PO Box 50210
                                                   Number          Street


                                                    Austin                                                             TX              78763-0210
                                                   City                                                               State            ZIP Code



                                                    (512) 345-8964                                                      frank@franklyon.com
                                                   Contact phone                                                       Email address



                                                    12739800                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
        25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 5 of 83
 Fill in this information to identify the case:

  Debtor Name       Cowan Fitness South Round Rock LLC

  United States Bankruptcy Court for the:                Western             District of      Texas
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Horizon Bank                                         Checking account                        3    5    7    4                             $49,292.00

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                      $49,292.00
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1    Rassier Priperties                                                                                                                      $22,817.33




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
        25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 6 of 83
Debtor           Cowan Fitness South Round Rock LLC                                                       Case number (if known)
                 Name




 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
                                                                                                                                                   $22,817.33
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:        Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                                       -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:        Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 7 of 83
Debtor          Cowan Fitness South Round Rock LLC                                                 Case number (if known)
                Name




         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:         Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale

         Retail goods and heart rate monitors                     03/16/2025                 unknown       Cost                                 $2,000.00
                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
                                                                                                                                              $2,000.00
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 8 of 83
Debtor         Cowan Fitness South Round Rock LLC                                                 Case number (if known)
              Name




         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 39.     Office furniture



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 9 of 83
Debtor         Cowan Fitness South Round Rock LLC                                       Case number (if known)
              Name




         4 Office Chairs @ $25.00 each                                             unknown     Estimate           $100.00


 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

         Laser Jet Printer                                                         unknown     Estimate           $100.00

         Miscellaneous Office Supplies                                             unknown     Estimate           $150.00

         14 Water Rower machines @$100.00 each                                     unknown     Estimate          $1,400.00

         Keiser M3i Binke Model #5506BBC                                           unknown     Estimate           $500.00

         Keiser Strider Model 5600PBC                                              unknown     Estimate           $150.00

         14 TRX Straps @ $50.00 each                                               unknown     Estimate           $700.00

         Keiser Bike Model #5501 PBC                                               unknown     Estimate           $100.00

         14 Reebok Benches $50.00 each                                             unknown     Estimate           $700.00

         80 lbs dumbbell set                                                       unknown     Estimate           $100.00

         70 lbs dumbbell set                                                       unknown     Estimate           $100.00

         60 lbs dumbbell set                                                       unknown     Estimate           $100.00

         55 lbs dumbbell set                                                       unknown     Estimate           $100.00

         50 lbs dumbell set                                                        unknown     Estimate           $100.00

         45 lbs dumbbell set                                                       unknown     Estimate            $75.00

         2 40 lbs dumbell set                                                      unknown     Estimate           $150.00

         2 35 lbs dumbbell sets @$75.00 each                                       unknown     Estimate           $150.00

         2 30 lbs dumbell sets @ $50.00 each                                       unknown     estimate           $100.00

         7 25 lbs dumbbell sets @ $25.00 each                                      unknown     Estimate           $175.00

         7 20 lbs dumbbell sets @$25.00 each                                       unknown     Estimate           $175.00

         7 15 lbs dumbbell sets @ $10.00 each                                      unknown     Estimate            $70.00

         7 12 lbs dumbbell sets @ $10.00 each                                      unknown     Estimate            $70.00

         14 10 lbs dumbbell sets at $10.00 each                                    unknown     Estimate           $140.00

         14 8 lbs dumbbell sets @ $10.00 each                                      unknown     Estimate           $140.00

         14 BOSU balls @ $15.00 each                                               unknown     Estimate           $210.00

         5 - 40 to 50" TV's @ $50.00 each                                          unknown     Estimate           $250.00

         3 Dell Desktop computers @ $50.00 each                                    unknown     Estimate           $150.00

         Dell Laptop Computer                                                      unknown     Estimate            $75.00

         14 Orangetheory OTBeat Tablets @ $40.00 each                              unknown     Estimate           $560.00




Official Form 206A/B                            Schedule A/B: Assets — Real and Personal Property                   page 5
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 10 of 83
Debtor          Cowan Fitness South Round Rock LLC                                                   Case number (if known)
                Name




 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                               $6,890.00
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1

         47.2

         47.3

         47.4


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                page 6
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 11 of 83
Debtor         Cowan Fitness South Round Rock LLC                                                     Case number (if known)
              Name




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ❑ No. Go to Part 10.
         ✔ Yes. Fill in the information below.
         ❑
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1 Lease of fitness studio / 661 Louis              Lease                            unknown                                                    $1.00
              Henna Blvd Ste 450 Round Rock, TX
              78664-4109


 56.     Total of Part 9
                                                                                                                                                       $1.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:         Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                    page 7
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 12 of 83
Debtor         Cowan Fitness South Round Rock LLC                                                      Case number (if known)
               Name




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations

         Customer list                                                                           unknown        Estimate                                    $1.00


 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
                                                                                                                                                        $1.00
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:          All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                         =   ➔
                                                               Total face amount          doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                         Tax year

                                                                                                         Tax year




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                   page 8
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 13 of 83
Debtor         Cowan Fitness South Round Rock LLC                                               Case number (if known)
              Name




                                                                                                  Tax year


 73.     Interests in insurance policies or annuities

         Intrepid Ins. Co. CGL policy                                                                                     $1.00

         Intrepid Ins. Co. Business personal property & income policies                                                   $1.00


 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)



         Nature of claim

         Amount requested


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
                                                                                                                         $2.00
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                  page 9
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 14 of 83
Debtor           Cowan Fitness South Round Rock LLC                                                                                  Case number (if known)
                Name




  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                        Current value of                         Current value
                                                                                                                 personal property                        of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                     $49,292.00

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                         $22,817.33

 82.     Accounts receivable. Copy line 12, Part 3.

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.                                                                                        $2,000.00

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                                 $6,890.00
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔                               $1.00


 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                                   $1.00

 90.     All other assets. Copy line 78, Part 11.                                                           +                            $2.00


 91.     Total. Add lines 80 through 90 for each column............................91a.                                        $81,002.33        + 91b.                  $1.00



 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................      $81,003.33




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                              page 10
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 15 of 83
 Fill in this information to identify the case:

     Debtor name    Cowan Fitness South Round Rock LLC

     United States Bankruptcy Court for the:           Western               District of             Texas
                                                                                           (State)
     Case number (if known):                                                                                                                ❑ Check if this is an
                                                                                                                                                amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one         Column A                       Column B
        secured claim, list the creditor separately for each claim.                                               Amount of claim                Value of collateral
                                                                                                                  Do not deduct the value        that supports this
                                                                                                                  of collateral.                 claim




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                         $979,946.11
        Page, if any.


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 16 of 83
Debtor       Cowan Fitness South Round Rock LLC                                                       Case number (if known)
          Name




   Part 1:       Additional Page                                                                                       Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.1 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      Firestone Financial, LLC                           14 Water Rower machines @$100.00 each, Retail                               $4,057.00            $8,890.00
                                                         goods and heart rate monitors, 4 Office Chairs @
     Creditor’s mailing address                          $25.00 each, Keiser M3i Binke Model #5506BBC,
                                                         Keiser Strider Model 5600PBC, 14 TRX Straps @
      c/o Berkshire Bank                                 $50.00 each, Keiser Bike Model #5501 PBC , 14
      100 Westminster Street                             Reebok Benches $50.00 each, 80 lbs dumbbell set, 70
                                                         lbs dumbbell set, 60 lbs dumbbell set, 55 lbs dumbbell
      Providence, RI 02903                               set, 50 lbs dumbell set, 45 lbs dumbbell set, 2 40 lbs
                                                         dumbell set, 2 35 lbs dumbbell sets @$75.00 each, 2
     Creditor’s email address, if known                  30 lbs dumbell sets @ $50.00 each, 7 25 lbs dumbbell
                                                         sets @ $25.00 each, 7 20 lbs dumbbell sets @$25.00
                                                         each, 7 15 lbs dumbbell sets @ $10.00 each, 7 12 lbs
     Date debt was incurred                              dumbbell sets @ $10.00 each, 14 10 lbs dumbbell sets
                                     12/07/2018
                                                         at $10.00 each, 14 8 lbs dumbbell sets @ $10.00 each,
                                                         14 BOSU balls @ $15.00 each, 5 - 40 to 50" TV's @
     Last 4 digits of account       0    0   0       1
                                                         $50.00 each, 3 Dell Desktop computers @ $50.00
     number
                                                         each, Dell Laptop Computer, 14 Orangetheory OTBeat
     Do multiple creditors have an interest in           Tablets @ $40.00 each, Laser Jet Printer,
     the same property?                                  Miscellaneous Office Supplies

     ❑ No                                                Describe the lien
     ✔ Yes. Specify each creditor, including this
     ❑                                                   UCC-1 Equipment loan
              creditor, and its relative priority.
              See continuation page.                     Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
                                                         Is anyone else liable on this claim?
                                                         ❑ No
                                                         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                         ❑
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         ❑ Contingent
                                                         ❑ Unliquidated
                                                         ❑ Disputed
     Remarks: Loan




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 17 of 83
Debtor       Cowan Fitness South Round Rock LLC                                                    Case number (if known)
          Name




   Part 1:       Additional Page                                                                                    Column A                  Column B
                                                                                                                    Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                    Do not deduct the value   that supports this
 previous page.                                                                                                     of collateral.            claim

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a lien
      First National Bank                             Dell Laptop Computer, 14 10 lbs dumbbell sets at                         $191,842.91             $8,891.00
                                                      $10.00 each, 14 8 lbs dumbbell sets @ $10.00 each, 14
     Creditor’s mailing address                       BOSU balls @ $15.00 each, 14 Orangetheory OTBeat
                                                      Tablets @ $40.00 each, 14 Reebok Benches $50.00
      4140 E. State Street                            each, 14 TRX Straps @ $50.00 each, 14 Water Rower
      Hermitage, PA 16178                             machines @$100.00 each, 2 30 lbs dumbell sets @
                                                      $50.00 each, 2 35 lbs dumbbell sets @$75.00 each, 2
     Creditor’s email address, if known               40 lbs dumbell set, 3 Dell Desktop computers @ $50.00
                                                      each, 4 Office Chairs @ $25.00 each, 45 lbs dumbbell
                                                      set, 5 - 40 to 50" TV's @ $50.00 each, 50 lbs dumbell
                                                      set, 55 lbs dumbbell set, 60 lbs dumbbell set, 7 12 lbs
     Date debt was incurred                           dumbbell sets @ $10.00 each, 7 15 lbs dumbbell sets
                                                      @ $10.00 each, 7 20 lbs dumbbell sets @$25.00 each,
     Last 4 digits of account
                                                      7 25 lbs dumbbell sets @ $25.00 each, 70 lbs dumbbell
     number
                                                      set, 80 lbs dumbbell set, Customer list, Keiser Bike
     Do multiple creditors have an interest in        Model #5501 PBC , Keiser M3i Binke Model
     the same property?                               #5506BBC, Keiser Strider Model 5600PBC, Laser Jet
                                                      Printer, Miscellaneous Office Supplies, Retail goods and
     ❑ No                                             heart rate monitors
     ✔ Yes. Have you already specified the
     ❑
              relative priority?                      Describe the lien
         ✔ No. Specify each creditor, including
         ❑                                            UCC-1
                  this creditor, and its relative
                  priority.                           Is the creditor an insider or related party?
                  See continuation page.              ✔ No
                                                      ❑
         ❑ Yes. The relative priority of creditors    ❑ Yes
                  is specified on lines               Is anyone else liable on this claim?
                                                      ❑ No
                                                      ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
                                                      As of the petition filing date, the claim is:
                                                      Check all that apply.

                                                      ❑ Contingent
                                                      ❑ Unliquidated
                                                      ❑ Disputed




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 18 of 83
Debtor       Cowan Fitness South Round Rock LLC                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.3 Creditor’s name                                     Describe debtor’s property that is subject to a lien
      U. S. Small Business                              Dell Laptop Computer, 14 10 lbs dumbbell sets at                         $365,078.61             $8,890.00
                                                        $10.00 each, 14 8 lbs dumbbell sets @ $10.00 each, 14
     Creditor’s mailing address                         BOSU balls @ $15.00 each, 14 Freemotion Reflex
                                                        Treadmills @ $200.00 each, 14 Reebok Benches
      Office of Disaster Assistance                     $50.00 each, 14 TRX Straps @ $50.00 each, 14 Water
      14925 Kingsport Road                              Rower machines @$100.00 each, 2 30 lbs dumbell sets
                                                        @ $50.00 each, 2 35 lbs dumbbell sets @$75.00 each,
      Fort Worth, TX 76155                              2 40 lbs dumbell set, 14 Orangetheory OTBeat Tablets
                                                        @ $40.00 each, 3 Dell Desktop computers @ $50.00
     Creditor’s email address, if known                 each, 4 Office Chairs @ $25.00 each, 45 lbs dumbbell
                                                        set, 5 - 40 to 50" TV's @ $50.00 each, 50 lbs dumbell
                                                        set, 55 lbs dumbbell set, 60 lbs dumbbell set, 7 12 lbs
     Date debt was incurred                             dumbbell sets @ $10.00 each, 7 15 lbs dumbbell sets
                                     07/12/2020
                                                        @ $10.00 each, 7 20 lbs dumbbell sets @$25.00 each,
                                                        7 25 lbs dumbbell sets @ $25.00 each, 70 lbs dumbbell
     Last 4 digits of account      8      1   0     5
                                                        set, 80 lbs dumbbell set, Keiser Bike Model #5501 PBC
     number
                                                        , Keiser M3i Binke Model #5506BBC, Keiser Strider
     Do multiple creditors have an interest in          Model 5600PBC, Laser Jet Printer, Miscellaneous
     the same property?                                 Office Supplies, Retail goods and heart rate monitors

     ❑ No                                               Describe the lien
     ✔ Yes. Have you already specified the
     ❑                                                  UCC-1 EIDL loan
              relative priority?
         ✔ No. Specify each creditor, including
         ❑                                              Is the creditor an insider or related party?
                  this creditor, and its relative       ✔ No
                                                        ❑
                  priority.
                                                        ❑ Yes
                  See continuation page.
         ❑ Yes. The relative priority of creditors
                                                        Is anyone else liable on this claim?

                  is specified on lines
                                                        ✔ No
                                                        ❑
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.

                                                        ❑ Contingent
                                                        ❑ Unliquidated
                                                        ❑ Disputed
     Remarks: Loan




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 19 of 83
Debtor       Cowan Fitness South Round Rock LLC                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                                      Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.4 Creditor’s name                                     Describe debtor’s property that is subject to a lien
      Wells Fargo Bank, NA                              Dell Laptop Computer, 14 10 lbs dumbbell sets at                         $418,967.59             $8,890.00
                                                        $10.00 each, 14 8 lbs dumbbell sets @ $10.00 each, 14
     Creditor’s mailing address                         BOSU balls @ $15.00 each, 14 Reebok Benches
                                                        $50.00 each, 14 TRX Straps @ $50.00 each, 14 Water
      625 Marquette Avenue 13th Floor                   Rower machines @$100.00 each, 2 30 lbs dumbell sets
      Minneapolis, MN 55402                             @ $50.00 each, 2 35 lbs dumbbell sets @$75.00 each,
                                                        2 40 lbs dumbell set, 14 Orangetheory OTBeat Tablets
     Creditor’s email address, if known                 @ $40.00 each, 3 Dell Desktop computers @ $50.00
                                                        each, 4 Office Chairs @ $25.00 each, 45 lbs dumbbell
                                                        set, 5 - 40 to 50" TV's @ $50.00 each, 50 lbs dumbell
                                                        set, 55 lbs dumbbell set, 60 lbs dumbbell set, 7 12 lbs
     Date debt was incurred          04/29/2016         dumbbell sets @ $10.00 each, 7 15 lbs dumbbell sets
                                                        @ $10.00 each, 7 20 lbs dumbbell sets @$25.00 each,
     Last 4 digits of account      0    3   2       2   7 25 lbs dumbbell sets @ $25.00 each, 70 lbs dumbbell
     number                                             set, 80 lbs dumbbell set, Keiser Bike Model #5501 PBC
                                                        , Keiser M3i Binke Model #5506BBC, Keiser Strider
     Do multiple creditors have an interest in
                                                        Model 5600PBC, Laser Jet Printer, Miscellaneous
     the same property?
                                                        Office Supplies, Retail goods and heart rate monitors
     ❑ No
     ✔ Yes. Have you already specified the
     ❑                                                  Describe the lien
              relative priority?                        UCC-1 Loan
         ❑ No. Specify each creditor, including
                  this creditor, and its relative       Is the creditor an insider or related party?
                  priority.                             ✔ No
                                                        ❑
                                                        ❑ Yes
                                                        Is anyone else liable on this claim?
         ✔ Yes. The relative priority of creditors
         ❑
                                                        ❑ No
                  is specified on lines 2.1             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.

                                                        ❑ Contingent
                                                        ❑ Unliquidated
                                                        ❑ Disputed
     Remarks: Loan




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 20 of 83
Debtor       Cowan Fitness South Round Rock LLC                                            Case number (if known)
          Name




   Part 1:       Additional Page                                                                           Column A                  Column B
                                                                                                           Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the           Do not deduct the value   that supports this
 previous page.                                                                                            of collateral.            claim

2.1 Creditor’s name                              Specify each creditor, including this creditor, and its relative priority.
      Firestone Financial, LLC                   For 14 Water Rower machines @$100.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For Retail goods and heart rate monitors: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 4 Office
                                                 Chairs @ $25.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4)
                                                 U. S. Small Business; For Keiser M3i Binke Model #5506BBC: 1) Wells Fargo Bank, NA; 2) First National
                                                 Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For Keiser Strider Model 5600PBC: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 TRX
                                                 Straps @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4)
                                                 U. S. Small Business; For Keiser Bike Model #5501 PBC : 1) Wells Fargo Bank, NA; 2) First National Bank;
                                                 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 Reebok Benches $50.00 each: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 80 lbs
                                                 dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 70 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For 60 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 55 lbs dumbbell set: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 50 lbs
                                                 dumbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 45 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For 2 40 lbs dumbell set: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 2 35 lbs dumbbell sets @$75.00
                                                 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 2 30 lbs dumbell sets @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 7 25 lbs dumbbell sets @ $25.00 each: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 7 20 lbs
                                                 dumbbell sets @$25.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial,
                                                 LLC; 4) U. S. Small Business; For 7 15 lbs dumbbell sets @ $10.00 each: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 7 12 lbs dumbbell sets @ $10.00
                                                 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 14 10 lbs dumbbell sets at $10.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 14 8 lbs dumbbell sets @ $10.00 each: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14
                                                 BOSU balls @ $15.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC;
                                                 4) U. S. Small Business; For 5 - 40 to 50" TV's @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National
                                                 Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 3 Dell Desktop computers @ $50.00
                                                 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For Dell Laptop Computer: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For 14 Orangetheory OTBeat Tablets @ $40.00 each: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For Laser
                                                 Jet Printer: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For Miscellaneous Office Supplies: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business




Official Form 206D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 6 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 21 of 83
Debtor       Cowan Fitness South Round Rock LLC                                            Case number (if known)
          Name




   Part 1:       Additional Page                                                                           Column A                   Column B
                                                                                                           Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the           Do not deduct the value    that supports this
 previous page.                                                                                            of collateral.             claim

2.2 Creditor’s name                              Specify each creditor, including this creditor, and its relative priority.
      First National Bank                        For Dell Laptop Computer: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC;
                                                 4) U. S. Small Business; For 14 10 lbs dumbbell sets at $10.00 each: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 8 lbs dumbbell sets @ $10.00
                                                 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 14 BOSU balls @ $15.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 14 Orangetheory OTBeat Tablets @ $40.00 each: 1)
                                                 Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For
                                                 14 Reebok Benches $50.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial,
                                                 LLC; 4) U. S. Small Business; For 14 TRX Straps @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 Water Rower machines
                                                 @$100.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For 2 30 lbs dumbell sets @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National
                                                 Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 2 35 lbs dumbbell sets @$75.00 each: 1)
                                                 Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 2
                                                 40 lbs dumbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For 3 Dell Desktop computers @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National
                                                 Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 4 Office Chairs @ $25.00 each: 1) Wells
                                                 Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 45 lbs
                                                 dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 5 - 40 to 50" TV's @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 50 lbs dumbell set: 1) Wells Fargo Bank, NA; 2)
                                                 First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 55 lbs dumbbell set: 1)
                                                 Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For
                                                 60 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For 7 12 lbs dumbbell sets @ $10.00 each: 1) Wells Fargo Bank, NA; 2) First National
                                                 Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 7 15 lbs dumbbell sets @ $10.00 each: 1)
                                                 Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 7
                                                 20 lbs dumbbell sets @$25.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For 7 25 lbs dumbbell sets @ $25.00 each: 1) Wells Fargo Bank,
                                                 NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 70 lbs dumbbell set:
                                                 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For
                                                 80 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For Keiser Bike Model #5501 PBC : 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For Keiser M3i Binke Model #5506BBC: 1) Wells Fargo
                                                 Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For Keiser Strider
                                                 Model 5600PBC: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For Laser Jet Printer: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For Miscellaneous Office Supplies: 1) Wells Fargo Bank, NA; 2)
                                                 First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For Retail goods and heart rate
                                                 monitors: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business




Official Form 206D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 7 of 8
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 22 of 83
Debtor       Cowan Fitness South Round Rock LLC                                            Case number (if known)
          Name




   Part 1:       Additional Page                                                                           Column A                   Column B
                                                                                                           Amount of claim            Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the           Do not deduct the value    that supports this
 previous page.                                                                                            of collateral.             claim

2.3 Creditor’s name                              Specify each creditor, including this creditor, and its relative priority.
      U. S. Small Business                       For Dell Laptop Computer: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4)
                                                 U. S. Small Business; For 14 10 lbs dumbbell sets at $10.00 each: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 8 lbs dumbbell sets @ $10.00
                                                 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 14 BOSU balls @ $15.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 14 Reebok Benches $50.00 each: 1) Wells Fargo
                                                 Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 TRX Straps
                                                 @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For 14 Water Rower machines @$100.00 each: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 2 30 lbs dumbell sets @ $50.00
                                                 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business; For 2 35 lbs dumbbell sets @$75.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 2 40 lbs dumbell set: 1) Wells Fargo Bank, NA; 2)
                                                 First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 14 Orangetheory OTBeat
                                                 Tablets @ $40.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U.
                                                 S. Small Business; For 3 Dell Desktop computers @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First
                                                 National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 4 Office Chairs @ $25.00 each:
                                                 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For
                                                 45 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For 5 - 40 to 50" TV's @ $50.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For 50 lbs dumbell set: 1) Wells Fargo Bank, NA; 2)
                                                 First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 55 lbs dumbbell set: 1)
                                                 Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 60
                                                 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For 7 12 lbs dumbbell sets @ $10.00 each: 1) Wells Fargo Bank, NA; 2) First National
                                                 Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 7 15 lbs dumbbell sets @ $10.00 each: 1)
                                                 Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 7
                                                 20 lbs dumbbell sets @$25.00 each: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For 7 25 lbs dumbbell sets @ $25.00 each: 1) Wells Fargo Bank,
                                                 NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For 70 lbs dumbbell set:
                                                 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For
                                                 80 lbs dumbbell set: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For Keiser Bike Model #5501 PBC : 1) Wells Fargo Bank, NA; 2) First National Bank; 3)
                                                 Firestone Financial, LLC; 4) U. S. Small Business; For Keiser M3i Binke Model #5506BBC: 1) Wells Fargo
                                                 Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For Keiser Strider
                                                 Model 5600PBC: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S.
                                                 Small Business; For Laser Jet Printer: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone
                                                 Financial, LLC; 4) U. S. Small Business; For Miscellaneous Office Supplies: 1) Wells Fargo Bank, NA; 2)
                                                 First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small Business; For Retail goods and heart rate
                                                 monitors: 1) Wells Fargo Bank, NA; 2) First National Bank; 3) Firestone Financial, LLC; 4) U. S. Small
                                                 Business




Official Form 206D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 8 of 8
           25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 23 of 83

 Fill in this information to identify the case:

 Debtor name               Cowan Fitness South Round Rock LLC

 United States Bankruptcy Court for the:
                               Western District of Texas

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.1                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.2                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 3
           25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 24 of 83

Debtor        Cowan Fitness South Round Rock LLC                                                              Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.4 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $26,238.68
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Wells Fargo Bank NA

       Po Box 51174                                                         ❑ Unliquidated
       Los Angeles, CA 90051-5474
                                                                            ❑ Disputed
                                                                            Basis for the claim: Line of credit

                                               various                      Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number         4   1   2    4               ❑ Yes
       Remarks: Line of credit
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.2                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
       Last 4 digits of account number                                      ❑ No
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.3                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
       Last 4 digits of account number                                      ❑ No
                                                                            ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
       Last 4 digits of account number                                      ❑ No
                                                                            ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 3
           25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 25 of 83

Debtor       Cowan Fitness South Round Rock LLC                                                   Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $26,238.68



  5c. Total of Parts 1 and 2                                                       5c.              $26,238.68
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 3
          25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 26 of 83

 Fill in this information to identify the case:

 Debtor name               Cowan Fitness South Round Rock LLC

 United States Bankruptcy Court for the:
                             Western District of Texas

 Case number (if known):                                    Chapter     11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Lease on 14 treadmills                       Ascentium
2.1    lease is for and the nature
       of the debtor’s interest                                                           23970 Hwy 59 N
                                             Contract to be ASSUMED
                                                                                          Kingwood, TX 77339
       State the term remaining              60 months

       List the contract number of
       any government contract

       State what the contract or
                                             Maintenance Service Agreement                HTS Texas
2.2    lease is for and the nature
       of the debtor’s interest                                                           2251 Picadilly Drive Suite B260
                                             Contract to be ASSUMED
                                                                                          Round Rock, TX 78664
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
                                             Property located at 661 Louis                Rassier Properties
2.3    lease is for and the nature
       of the debtor’s interest
                                             Henna Blvd, Ste 450 Round Rock,
                                                                                          Attn: John Rassier
                                             Texas
                                                                                          321 Hartz Avenue Suite 7
                                             Contract to be ASSUMED
                                                                                          Danville, CA 94526
       State the term remaining              57 months

       List the contract number of
       any government contract

       State what the contract or
                                             Franchise Agreement                          Ultimate Fitness Group, LLC
2.4    lease is for and the nature
       of the debtor’s interest
                                             Orangetheory Fitness
                                                                                          6000 Broken Sound Pkwy NW
                                             Contract to be ASSUMED
                                                                                          Boca Raton, FL 33487
       State the term remaining              13 months

       List the contract number of
       any government contract




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 27 of 83
 Fill in this information to identify the case:

  Debtor name          Cowan Fitness South Round Rock LLC


  United States Bankruptcy Court for the:              Western           District of             Texas
                                                                                       (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                              Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                              Name
                                                                                                                                      that apply:

         Cowan Fitness North                                                                             Firestone Financial,         ✔D
                                                                                                                                      ❑
 2.1     Round Rock LLC                      808 Shady Bluff Cove                                        LLC                          ❑ E/F
                                            Street                                                                                    ❑G


                                             Round Rock, TX 78665
                                            City                 State                  ZIP Code

 2.2     Gregory Robert Cowan                808 Shady Bluff Cove                                        Wells Fargo Bank, NA         ✔D
                                                                                                                                      ❑
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G
                                                                                                         Firestone Financial,         ✔D
                                                                                                                                      ❑
                                             Round Rock, TX 78665
                                                                                                         LLC                          ❑ E/F
                                            City                 State                  ZIP Code
                                                                                                                                      ❑G
                                                                                                         Ascentium                    ❑D
                                                                                                                                      ❑ E/F
                                                                                                                                      ✔G
                                                                                                                                      ❑
                                                                                                         First National Bank          ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
         Katherine Danneman
 2.3     Cowan                               808 Shady Bluff Cove                                        Wells Fargo Bank, NA         ✔D
                                                                                                                                      ❑
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G
                                                                                                         Firestone Financial,         ✔D
                                                                                                                                      ❑
                                             Round Rock, TX 78665
                                                                                                         LLC                          ❑ E/F
                                            City                 State                  ZIP Code
                                                                                                                                      ❑G




Official Form 206H                                                  Schedule H: Codebtors                                                      page 1 of    2
       25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 28 of 83
Debtor       Cowan Fitness South Round Rock LLC                                           Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 First National Bank         ✔D
                                                                                                                             ❑
                                                                                                                             ❑ E/F
                                                                                                                             ❑G
 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
             25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 29 of 83


 Fill in this information to identify the case:

 Debtor name                         Cowan Fitness South Round Rock LLC

 United States Bankruptcy Court for the:
                                        Western District of Texas

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $1.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $81,002.33
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $81,003.33




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $979,946.11


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +            $26,238.68




 4. Total liabilities..............................................................................................................................................................................               $1,006,184.79
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
            25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 30 of 83

 Fill in this information to identify the case:

 Debtor name               Cowan Fitness South Round Rock LLC

 United States Bankruptcy Court for the:
                             Western District of Texas

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                    $109,058.00
                                        From 01/01/2025
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2024           to    12/31/2024       ✔ Operating a business
                                                                                         ❑                                                    $663,600.85
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                    $822,266.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2025           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2024           to    12/31/2024
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
           25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 31 of 83
            Cowan Fitness South Round Rock LLC                                                                 Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                       Dates             Total amount or value           Reasons for payment or transfer
                                                                                                             Check all that apply

 3.1.   Rassier Properties                                 01/01/2025                 $34,899.00             ❑ Secured debt
        Creditor's name                                                                                      ❑ Unsecured loan repayments
        3006 Bee Caves Road Suite C-250                    02/01/2025                                        ❑ Suppliers or vendors
        Street
                                                                                                             ❑ Services
                                                                                                             ✔ Other RENT
                                                           03/01/2025
                                                                                                             ❑
        Austin, TX 78746
        City                        State    ZIP Code

 3.2.   American Express                                   Jan-Mar                    $11,835.00             ❑ Secured debt
        Creditor's name                                    2025 total                                        ❑ Unsecured loan repayments
        PO Box 6031                                                                                          ✔ Suppliers or vendors
                                                                                                             ❑
        Street
                                                                                                             ❑ Services
                                                                                                             ❑ Other
        Carol Stream, IL 60197-6031
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.   Greg Cowan                                         01/03/2024                  $4,831.85             Expense Reimbursement
        Creditor's name
        808 Shady Bluff Cove                               02/02/2024
        Street
                                                           03/01/2024

        Round Rock, TX 78665                               04/03/2024
        City                        State    ZIP Code

         Relationship to debtor
                                                           05/03/2024

        Managing Member                                    06/03/2024

                                                           07/03/2024

                                                           07/18/2024

                                                           08/02/2024


Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
Debtor
           25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 32 of 83
            Cowan Fitness South Round Rock LLC                                                                    Case number (if known)
                 Name


                                                            09/04/2024

                                                            10/03/52024

                                                            11/04/2024

                                                            12/01/2025

                                                            01/01/2025

                                                            02/01/2025

                                                            03/01/2025


 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
           25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 33 of 83
            Cowan Fitness South Round Rock LLC                                                                 Case number (if known)
                 Name
 7.1.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

                                                                                                                                          ❑ Pending
                                                                                      Name
                                                                                                                                          ❑ On appeal
         Case number                                                                                                                      ❑ Concluded
                                                                                      Street




                                                                                      City                          State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                         Value


        Custodian’s name
                                                          Case title                                          Court name and address
        Street
                                                                                                             Name

                                                          Case number
                                                                                                             Street
        City                        State     ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑
 9.1.    Recipient’s name and address                      Description of the gifts or contributions                  Dates given        Value


        Recipient’s name


        Street




        City                        State     ZIP Code


         Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 4
Debtor
            25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 34 of 83
             Cowan Fitness South Round Rock LLC                                                                  Case number (if known)
                  Name

           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Frank B Lyon                                           Retainer                                                  12/27/2024                   $2,500.00

          Address                                               Retainer                                                  03/02/2025                   $7,500.00

         PO Box 50210                                           Filing fee                                                03/12/2025                   $1,738.00
         Street

                                                                Retainer                                                  03/13/2025                   $2,305.25
         Austin, TX 78763-0210
         City                        State    ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                             Describe any property transferred                         Dates transfers       Total amount or
                                                                                                                         were made             value




           Trustee




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Debtor
            25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 35 of 83
             Cowan Fitness South Round Rock LLC                                                               Case number (if known)
                Name



 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ❑ None
 13.1.    Who received the transfer?                        Description of property transferred or payments            Date transfer      Total amount or
                                                            received or debts paid in exchange                         was made           value

         Ascentium                                         14 Orangetheory OTB tablets - traded in for                03/2025                       $560.00
                                                           new treadmills being leased
          Address

         23970 Hwy 59 N
         Street



         Kingwood, TX 77339
         City                       State    ZIP Code


          Relationship to debtor

         None


 13.2.    Who received the transfer?                        Description of property transferred or payments            Date transfer      Total amount or
                                                            received or debts paid in exchange                         was made           value

         Ascentium                                         14 Freemotion treadmills - traded in with lease 03/2025                                $1,400.00
                                                           of new treadmills
          Address

         23970 Hwy 59 N
         Street



         Kingwood, TX 77339
         City                       State    ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                          Dates of occupancy

 14.1.
                                                                                                          From                      To
         Street




         City                       State    ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
Debtor
            25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 36 of 83
             Cowan Fitness South Round Rock LLC                                                                  Case number (if known)
                Name
 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                      Nature of the business operation, including type of services the          If debtor provides meals
                                                         debtor provides                                                           and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                          Location where patient records are maintained(if different from           How are records kept?
                                                         facility address). If electronic, identify any service provider.
         City                    State    ZIP Code                                                                                Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes. State the nature of the information collected and retained. Credit card information
         ❑
                  Does the debtor have a privacy policy about that information?
                  ❑ No
                  ✔ Yes
                  ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                           number                                                    closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Debtor
           25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 37 of 83
            Cowan Fitness South Round Rock LLC                                                                    Case number (if known)
                 Name


 18.1
                                                          XXXX–                         ❑ Checking
        Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
        Street


                                                                                        ❑ Other
        City                      State     ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                          Address

        City                      State     ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ❑ None
 20.1    Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                  still have it?

        Forest Creek Mini Storage                                                                     Decorations for studios, ceiling tile
                                                                                                                                                 ❑ No
                                                                                                                                                 ✔ Yes
                                                                                                                                                 ❑
        Name
        1901 Red Bud Lane                                                                             -$250.00, used treadmill $100.00,
        Street                                                                                        used rowing machine $50.00, ten
                                                                                                      used medicine balls $50.00, totes
                                                          Address
        Round Rock, TX 78665                                                                          with prior year event t-shirts 200
        City                      State     ZIP Code
                                                                                                      t-shirts $200.00, general marketing
                                                                                                      items $0.00, storage shelving $. ,
                                                                                                      rower parts $125.00, 4 used weight
 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
                                                                           room benches ($80.00)
 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
        leased or rented property.
        ✔ None
        ❑
         Owner’s name and address                                Location of the property                     Description of the property                 Value



        Name


        Street




        City                        State     ZIP Code



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 8
Debtor
           25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 38 of 83
            Cowan Fitness South Round Rock LLC                                                                 Case number (if known)
               Name
 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                Court or agency name and address                       Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                  Name
                                                                                                                                                     ❑ On appeal
                                                                                                                                                     ❑ Concluded
                                                  Street




                                                  City                         State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                     Governmental unit name and address                     Environmental law, if known                 Date of notice



      Name                                        Name


      Street                                      Street




      City                  State   ZIP Code      City                         State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                     Governmental unit name and address                     Environmental law, if known                 Date of notice



      Name                                        Name


      Street                                      Street




      City                  State   ZIP Code      City                         State   ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 9
Debtor
            25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 39 of 83
             Cowan Fitness South Round Rock LLC                                                                Case number (if known)
                 Name




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
          Business name and address                  Describe the nature of the business                          Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:        –
         Name
                                                                                                                  Dates business existed

         Street
                                                                                                                From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                        Dates of service

 26a.1. Anita's Accounting Solutions, PLLC                                                                        From 2015             To 12/2023
          Name
          PO Box 18203
          Street



          Tampa, FL 33679
          City                                           State                   ZIP Code

           Name and address                                                                                        Dates of service

 26a.2. Ceterus                                                                                                   From 01/2024          To present
          Name
          4900 O'Hear Avenue Suite 100- PMB 125
          Street



          North Charleston, SC 29405
          City                                           State                   ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                        Dates of service

 26b.1.
                                                                                                                  From                  To
          Name


          Street




          City                                           State                   ZIP Code




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 10
Debtor
             25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 40 of 83
              Cowan Fitness South Round Rock LLC                                                             Case number (if known)
                  Name



 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None
            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.
           Gregory Robert Cowan
           Name
           808 Shady Bluff Cove
           Street



           Round Rock, TX 78665
           City                                            State                  ZIP Code

            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.2.
           Katherine Danneman Cowan
           Name
           808 Shady Bluff Cove
           Street



           Round Rock, TX 78665
           City                                            State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ❑None
            Name and address

 26d.1. Wells Fargo
           Name
           P.O. Box 60510
           Street



           Los Angeles, CA 90060-0510
           City                                            State                  ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ❑ No
        ✔ Yes. Give the details about the two most recent inventories.
        ❑
           Name of the person who supervised the taking of the inventory                         Date of         The dollar amount and basis (cost, market, or
                                                                                                 inventory       other basis) of each inventory

          Anthony Santo                                                                         03/16/2025                                            $2,000.00


           Name and address of the person who has possession of inventory records

 27.1. Gregory Robert Cowan
          Name
          808 Shady Bluff Cove
          Street



          Round Rock, TX 78665
          City                                     State               ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 11
Debtor
          25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 41 of 83
           Cowan Fitness South Round Rock LLC                                                                  Case number (if known)
             Name
 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
         Name                          Address                                                          Position and nature of any              % of interest, if any
                                                                                                        interest

      Gregory Cowan                   808 Shady Bluff Cove Round Rock, TX                              Managing Member,                                     50.00%
                                      78665-5644                                                       membership
      Katherine Cowan                 808 Shady Bluff Cove Round Rock, TX                              Manger, membership                                   50.00%
                                      78665-5644

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
      ✔ No
      ❑
      ❑ Yes. Identify below.
         Name                          Address                                                       Position and nature of any         Period during which
                                                                                                     interest                           position or interest was
                                                                                                                                        held

                                                                                                 ,                                       From
                                                                                                                                         To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                      Amount of money or description              Dates                   Reason for providing
                                                                            and value of property                                               the value


 30.1. Gregory Cowan                                                                                       $670.45     01/03/2024             Reimbursed
      Name                                                                                                                                    Expenses
                                                                                                         $1,067.45     02/02/2024
      808 Shady Bluff Cove
      Street
                                                                                                           $670.45     03/01/2024

                                                                                                           $670.45     04/03/2024
      Round Rock, TX 78665
      City                                     State        ZIP Code                                       $150.00     05/03/2024

         Relationship to debtor                                                                            $150.00     06/03/2024

      Managing Member                                                                                      $150.00     07/03/2024

                                                                                                           $103.50     07/18/2024

                                                                                                           $150.00     08/02/2024

                                                                                                           $150.00     09/04/2024

                                                                                                           $150.00     10/03/2024

                                                                                                           $150.00     11/04/2024

                                                                                                           $150.00     12/01/2025

                                                                                                           $150.00     01/01/2025

                                                                                                           $150.00     02/01/2025

                                                                                                           $150.00     03/01/2025




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 12
Debtor
          25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 42 of 83
           Cowan Fitness South Round Rock LLC                                                                Case number (if known)
             Name

         Name and address of recipient                                           Amount of money or description       Dates               Reason for providing
                                                                                 and value of property                                    the value


 30.2. Katherine Danneman Cowan                                                                          $500.00     02/01/2025          Salary
      Name
                                                                                                         $500.00     02/16/2025
      808 Shady Bluff Cove
      Street
                                                                                                         $500.00     03/01/2025

                                                                                                         $500.00     03/01/2025
      Round Rock, TX 78665
      City                                      State        ZIP Code


         Relationship to debtor

      Owner
         Name and address of recipient                                           Amount of money or description       Dates               Reason for providing
                                                                                 and value of property                                    the value


 30.3. Gregory Robert Cowan                                                                              $500.00     02/01/2025          Salary
      Name
                                                                                                         $500.00     02/16/2025
      808 Shady Bluff Cove
      Street
                                                                                                         $500.00     03/01/2025

                                                                                                         $500.00     03/16/2025
      Round Rock, TX 78665
      City                                      State        ZIP Code


         Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                        Employer Identification number of the parent corporation

                                                                                                  EIN:       –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                              Employer Identification number of the pension fund

                                                                                                  EIN:       –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on        03/24/2025
                    MM/ DD/ YYYY




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 13
Debtor
          25-10395-smr    Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 43 of 83
           Cowan Fitness South Round Rock LLC                                                                   Case number (if known)
            Name




    ✘ /s/ Greg Cowan                                                     Printed name                      Greg Cowan
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor       Managing Member



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy             page 14
           25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 44 of 83

 Fill in this information to identify the case:

 Debtor name                Cowan Fitness South Round Rock LLC

 United States Bankruptcy Court for the:
                             Western District of Texas

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Wells Fargo Bank, NA                                                    UCC-1 Loan                                  $418,967.59           $8,890.00         $410,077.59
      625 Marquette Avenue 13th Floor
      Minneapolis, MN 55402


2     U. S. Small Business                                                    UCC-1 EIDL loan                             $365,078.61          $11,690.00         $365,078.61
      Office of Disaster Assistance
      14925 Kingsport Road
      Fort Worth, TX 76155

3     First National Bank                                                     UCC-1                                       $191,842.91           $8,891.00         $191,741.91
      4140 E. State Street
      Hermitage, PA 16178


4     Wells Fargo Bank NA                                                     Line of credit                                                                       $26,238.68
      Po Box 51174
      Los Angeles, CA 90051-5474


5     Firestone Financial, LLC                                                UCC-1 Equipment                                $4,057.00          $8,890.00           $4,057.00
      c/o Berkshire Bank                                                      loan
      100 Westminster Street
      Providence, RI 02903

6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
           25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 45 of 83

Debtor       Cowan Fitness South Round Rock LLC                                                               Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
 25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 46 of 83

                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                             AUSTIN DIVISION

IN RE: Cowan Fitness South Round Rock LLC                                             CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     03/24/2025             Signature                                 /s/ Greg Cowan
                                                                     Greg Cowan, Managing Member
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 47 of 83


                                 Ascentium
                                 23970 Hwy 59 N
                                 Kingwood, TX 77339




                                 Cowan Fitness North Round
                                 Rock LLC
                                 808 Shady Bluff Cove
                                 Round Rock, TX 78665



                                 Firestone Financial, LLC
                                 c/o Berkshire Bank
                                 100 Westminster Street
                                 Providence, RI 02903



                                 First National Bank
                                 4140 E. State Street
                                 Hermitage, PA 16178




                                 Gregory Robert Cowan
                                 808 Shady Bluff Cove
                                 Round Rock, TX 78665




                                 HTS Texas
                                 2251 Picadilly Drive Suite B260
                                 Round Rock, TX 78664




                                 Katherine Danneman Cowan
                                 808 Shady Bluff Cove
                                 Round Rock, TX 78665




                                 Rassier Properties
                                 Attn: John Rassier
                                 321 Hartz Avenue Suite 7
                                 Danville, CA 94526
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 48 of 83


                                 Rassier Properties
                                 3006 Bee Caves Road Suite C-250
                                 Austin, TX 78746




                                 U. S. Small Business
                                 Office of Disaster Assistance
                                 14925 Kingsport Road
                                 Fort Worth, TX 76155



                                 Ultimate Fitness Group, LLC
                                 6000 Broken Sound Pkwy NW
                                 Boca Raton, FL 33487




                                 Wells Fargo Bank NA
                                 Po Box 51174
                                 Los Angeles, CA 90051-5474




                                 Wells Fargo Bank, NA
                                 625 Marquette Avenue 13th Floor
                                 Minneapolis, MN 55402
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 49 of 83
00068GIWIAU 06/13/2024 9:48 AM




    Form      7004                                       Application for Automatic Extension of Time To File Certain
                                                           Business Income Tax, Information, and Other Returns                                                                                                                                                             OMB No. 1545-0233
    (Rev. December 2018)
                                                                                                          File a separate application for each return.
    Department of the Treasury
    Internal Revenue Service                                             Go to www.irs.gov/Form7004 for instructions and the latest information.
                             Name                                                                                                                                                                                                     Identifying number

                                       COWAN FITNESS SOUTH ROUND ROCK LLC
                                                                                                                                                                                                                                    XX-XXXXXXX
                                      Number, street, and room or suite no. (If P.O. box, see instructions.)
    Print
    or                                 808 SHADY BLUFF COVE
    Type                              City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country’s practice for entering postal code).)



                                       ROUND ROCK                                                                       TX 78665
    Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I        Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
      1 Enter the form code for the return listed below that this application is for . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
    Application                                                      Form           Application                                                                                                                          Form
    Is For:                                                          Code           Is For:                                                                                                                              Code
    Form 706-GS(D)                                                     01           Form 1120-ND (section 4951 taxes)                                                                                                       20
    Form 706-GS(T)                                                     02           Form 1120-PC                                                                                                                            21
    Form 1041 (bankruptcy estate only)                                 03           Form 1120-POL                                                                                                                           22
    Form 1041 (estate other than a bankruptcy estate)                  04           Form 1120-REIT                                                                                                                          23
    Form 1041 (trust)                                                  05           Form 1120-RIC                                                                                                                           24
    Form 1041-N                                                        06           Form 1120S                                                                                                                              25
    Form 1041-QFT                                                      07           Form 1120-SF                                                                                                                            26
    Form 1042                                                          08           Form 3520-A                                                                                                                             27
    Form 1065                                                          09           Form 8612                                                                                                                               28
    Form 1066                                                          11           Form 8613                                                                                                                               29
    Form 1120                                                          12           Form 8725                                                                                                                               30
    Form 1120-C                                                        34           Form 8804                                                                                                                               31
    Form 1120-F                                                        15           Form 8831                                                                                                                               32
    Form 1120-FSC                                                      16           Form 8876                                                                                                                               33
    Form 1120-H                                                        17           Form 8924                                                                                                                               35
    Form 1120-L                                                        18           Form 8928                                                                                                                               36
    Form 1120-ND                                                       19
     Part II                  All Filers Must Complete This Part
          2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
                 check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
                 check here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                 If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
                 covered by this application.
          4    If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here . . . . . . . . . . . . . . . . . . . . .
                                                   23. , or tax year beginning . . . . . . . . . . . . . . . , and ending . . . . . . . . . . . . . . . . .
          5a The application is for calendar year 20
           b Short tax year. If this tax year is less than 12 months, check the reason:                                                                                Initial return                             Final return
                      Change in accounting period                                            Consolidated return to be filed                                           Other (See instructions–attach explanation.)

          6    Tentative total tax . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               6                                       0
          7    Total payments and credits. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                7                                       0
       8 Balance due. Subtract line 7 from line 6. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  8                                       0
    For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                                   Form     7004 (Rev. 12-2018)




    DAA
                   25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 50 of 83
00068GIWIAU 06/13/2024 9:48 AM




         Form                                          1120-S                                           U.S. Income Tax Return for an S Corporation
                                                                                                                                                                                                                                             OMB No. 1545-0123


            Department of the Treasury
            Internal Revenue Service
                                                          Do not file this form unless the corporation has filed or
                                                          is attaching Form 2553 to elect to be an S corporation.
                                                  Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                                                                                                                                                                                2023
            For calendar year 2023 or tax year beginning               , ending
            A                                       S election effective date                         Name                                                                                                             D     Employer identification number
                                                    01/01/16                          TYPE
                                                                                                      COWAN FITNESS SOUTH ROUND ROCK LLC
            B                                       Business activity code                                                                                                                                                   XX-XXXXXXX
                                                    number (see instructions)
                                                                                      OR              Number, street, and room or suite no. If a P.O. box, see instructions.                                           E     Date incorporated
                                                    812990                                            808 SHADY BLUFF COVE                                                                                                   01/01/2016
           C                                        Check if Sch. M-3                 PRINT           City or town, state or province, country, and ZIP or foreign postal code                                         F     Total assets (see instructions)
                                                    attached                                          ROUND ROCK                                             TX 78665
                                                                                                                                                                                                                                                 $               858,703
         G Is the corporation electing to be an S corporation beginning with this tax year? See instructions.                                                                                                           Yes X No
         H Check if: (1)              Final return (2)                                 Name change (3)                                        Address change (4)                                      Amended return (5)                              S election termination
         I Enter the number of shareholders who were shareholders during any part of the tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .2                                                   ..
         J Check if corporation: (1)                      Aggregated activities for section 465 at-risk purposes                                                         (2)               Grouped activities for section 469 passive activity purposes
         Caution: Include only trade or business income and expenses on lines 1a through 22. See the instructions for more information.
             1a Gross receipts or sales                             836,276 b Less Returns and allowances                                                                                         c Balance                                        1c            836,276
             2 Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             2               14,010
    Income




             3 Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         3            822,266
             4 Net gain (loss) from Form 4797, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  4
             5 Other income (loss) (see instructions—attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                               5
             6 Total income (loss). Add lines 3 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              6             822,266
             7 Compensation of officers (see instructions–attach Form 1125-E) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      7
    Deductions (see instructions for limitations)




             8 Salaries and wages (less employment credits) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  8             320,657
             9 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           9               28,721
            10 Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         10
            11 Rents . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   11            120,725
            12 Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                  12              50,544
            13 Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       13              60,301
            14 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) . . . . . . .                                                                                                                      14              10,443
            15 Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        15
            16 Advertising . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         16              68,628
            17 Pension, profit-sharing, etc., plans . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                17
            18 Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                             18
            19 Energy efficient commercial buildings deduction (attach Form 7205) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                          19
            20 Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .SEE                                . . . . . . . . STMT
                                                                                                                                                                                                                 . . . . . . . . . . .1.....       20            329,250
            21 Total deductions. Add lines 7 through 20 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              21            989,269
            22 Ordinary business income (loss). Subtract line 21 from line 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     22          -167,003
           23a Excess net passive income or LIFO recapture tax (see instructions) . . . . . . . . . . . . . . . . . . . . . . 23a
              b Tax from Schedule D (Form 1120-S) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23b
              c Add lines 23a and 23b (see instructions for additional taxes) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           23c
    Tax and Payments




           24a Current year’s estimated tax payments & preceding year’s overpayment credited to the current year . . . . . . . . 24a
              b Tax deposited with Form 7004 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24b
              c Credit for federal tax paid on fuels (attach Form 4136) . . . . . . . . . . . . . . . . . . . . . . . . . . 24c
              d Elective payment election amount from Form 3800 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24d
              z Add lines 24a through 24d . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         24z
            25 Estimated tax penalty (see instructions). Check if Form 2220 is attached                                                                                                                                                            25
                                                                                                                                                                   .................................
            26 Amount owed. If line 24z is smaller than the total of lines 23c and 25, enter amount owed . . . . . . . . . . . . . . . . . . . .                                                                                                   26
            27 Overpayment. If line 24z is larger than the total of lines 23c and 25, enter amount overpaid . . . . . . . . . . . . . . . . . . .                                                                                                  27
            28 Enter amount from line 27: Credited to 2024 estimated tax                                                                                                                                            Refunded                       28
                                                           Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements,                    May the IRS discuss this return with the preparer
                                                           and to the best of my knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than taxpayer)
         Sign is based on all information of which preparer has any knowledge.                                                                                                                         shown below? See instructions.            X Yes               No

         Here                                                                                                                                                                                             PRESIDENT
                                                            Signature of officer      GREGORY COWAN                                                                        Date                       Title
                                                                    Print/Type preparer's name                                 Preparer's signature                                         Date                      Check            if      PTIN

         Paid                                                       KEVIN J. WERKMAN, CPA                                        KEVIN J. WERKMAN, CPA                                     06/13/24                   self-employed
         Preparer                                                    Firm's name      CETERUS INC.                                                                                                        Firm's EIN
         Use Only                                                    Firm's address   P.O. BOX 2680
                                                                                      PORTAGE, MI                                                      49081                                              Phone no.        269-544-0322
         For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                 Form 1120-S (2023)

         DAA
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 51 of 83
00068GIWIAU 06/13/2024 9:48 AM




    Form 1120-S (2023)                             COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                                                                                                                              Page 2
    Schedule B                             Other Information (see instructions)
      1        Check accounting method:                                  a             Cash               b X Accrual                                                                                                                                                                       Yes No
                                                                         c             Other (specify) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      2   See the instructions and enter the:
          a Business activity PERSONAL                                       SERVICES
                                            ...........................................                                                   b Product or service . FITNESS                                               CENTER
                                                                                                                                                                                          ................................................
      3   At any time during the tax year, was any shareholder of the corporation a disregarded entity, a trust, an estate, or a
          nominee or similar person? If “Yes,” attach Schedule B-1, Information on Certain Shareholders of an S Corporation . . . . . . . . . . . . . . . . .                                                                                                                                   X
      4   At the end of the tax year, did the corporation:
        a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total stock issued and outstanding of any
          foreign or domestic corporation? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v)
          below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       X
                                            (i) Name of Corporation                                                             (ii) Employer                                      (iii) Country of                              (iv) Percentage of               (v) If Percentage in (iv) Is 100%,
                                                                                                                                Identification                                      Incorporation                                   Stock Owned                     Enter the Date (if applicable)
                                                                                                                               Number (if any)                                                                                                                        a Qualified Subchapter S
                                                                                                                                                                                                                                                                   Subsidiary Election Was Made




          b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss, or
            capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial interest of a
            trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                          X
                                                 (i) Name of Entity                                                             (ii) Employer                        (iii) Type of Entity                                       (iv) Country of                                (v) Maximum Percentage
                                                                                                                                Identification                                                                                   Organization                                       Owned in Profit,
                                                                                                                               Number (if any)                                                                                                                                      Loss, or Capital




     5a At the end of the tax year, did the corporation have any outstanding shares of restricted stock? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                                            X
         If “Yes,” complete lines (i) and (ii) below.
         (i) Total shares of restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    . .........................
         (ii) Total shares of non-restricted stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         . .........................
      b At the end of the tax year, did the corporation have any outstanding stock options, warrants, or similar instruments? . . . . . . . . . . . . . . . .                                                                                                                                   X
         If “Yes,” complete lines (i) and (ii) below.
         (i) Total shares of stock outstanding at the end of the tax year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    . .........................
         (ii) Total shares of stock outstanding if all instruments were executed . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           . .........................
     6   Has this corporation filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
         information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                 X
     7   Check this box if the corporation issued publicly offered debt instruments with original issue discount . . . . . . . . . . . . . . . . . . . . . . . .
         If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount
         Instruments.
     8   If the corporation (a) was a C corporation before it elected to be an S corporation or the corporation acquired an asset with a
         basis determined by reference to the basis of the asset (or the basis of any other property) in the hands of a C corporation, and
         (b) has net unrealized built-in gain in excess of the net recognized built-in gain from prior years, enter the net unrealized built-in
         gain reduced by net recognized built-in gain from prior years. See instructions . . . . . . . . . . . . . . . . . . . . . . . . $ . . . . . . . . . . . . . . . . . . . . . . . . . . .
     9   Did the corporation have an election under section 163(j) for any real property trade or business or any farming business
         in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  X
    10   Does the corporation satisfy one or more of the following? See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                                    X
       a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
       b The corporation’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
         preceding the current tax year are more than $29 million and the corporation has business interest expense.
       c The corporation is a tax shelter and the corporation has business interest expense.
         If “Yes,” complete and attach Form 8990, Limitation on Business Interest Expense Under Section 163(j).
    11   Does the corporation satisfy both of the following conditions? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     X
       a The corporation’s total receipts (see instructions) for the tax year were less than $250,000.
       b The corporation’s total assets at the end of the tax year were less than $250,000.
         If “Yes,” the corporation is not required to complete Schedules L and M-1.
                                                                                                                                                                                                                                                                           Form 1120-S (2023)

    DAA
      25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 52 of 83
00068GIWIAU 06/13/2024 9:48 AM




    Form 1120-S (2023)                                COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                                                                                  Page 3
    Schedule B Other Information (see instructions) (continued)                                                                                                                                                                                   Yes   No
       12
        During the tax year, did the corporation have any non-shareholder debt that was canceled, was forgiven, or had the
        terms modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               X
        If “Yes,” enter the amount of principal reduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       $ ..........................
    13 During the tax year, was a qualified subchapter S subsidiary election terminated or revoked? If “Yes,” see instructions . . . . . . . . . . . . . .                                                                                         X
    14a Did the corporation make any payments in 2023 that would require it to file Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         X
      b If “Yes,” did or will the corporation file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     X
    15 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  X
        If “Yes,” enter the amount from Form 8996, line 15 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            $ ..........................
    16 At any time during the tax year, did the corporation: (a) receive (as a reward, award, or payment for property or services);
        or (b) sell, exchange, or otherwise dispose of a digital asset (or a financial interest in a digital asset)? See instructions . . . . . . . . . . . . . .                                                                                  X
    Schedule K Shareholders' Pro Rata Share Items                                                                                                                                                                                     Total amount
             1 Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                1          -167,003
             2 Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      2
             3a Other gross rental income (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                3a
              b Expenses from other rental activities (attach statement) . . . . . . . . . . . . . . . . .                                                          3b
              c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      3c
         Income (Loss)




             4 Interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          4
             5 Dividends: a Ordinary dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           5a
                             b Qualified dividends . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              5b
             6 Royalties . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  6
             7 Net short-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     7
             8a Net long-term capital gain (loss) (attach Schedule D (Form 1120-S)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                    8a
              b Collectibles (28%) gain (loss) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                            8b
              c Unrecaptured section 1250 gain (attach statement) . . . . . . . . . . . . . . . . . . . . .                                                         8c
             9 Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9
            10 Other income (loss) (see instructions) . . . . . . . . . . . . Type:                                                                                                                                            10
            11 Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        11
         Deductions




            12a Charitable contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .               12a
              b Investment interest expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      12b
              c Section 59(e)(2) expenditures . . . . . . . . . . . . . . . . . . . . Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    12c
              d Other deductions (see instructions) . . . . . . . . . . . . . . . Type:                                                                                                                                        12d
            13a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       13a
              b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                              13b
              c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . . . . . . . . . . . . . . .                                                                                     13c
         Credits




              d Other rental real estate credits (see instructions) . Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    13d
              e Other rental credits (see instructions) . . . . . . . . . . . . Type: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          13e
              f Biofuel producer credit (attach Form 6478) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     13f
              g Other credits (see instructions) . . . . . . . . . . . . . . . . . . . Type:                                                                                                                                   13g
    Minimum Tax national
                 Inter-




                           14      Attach Schedule K-2 (Form 1120-S), Shareholders’ Pro Rata Share Items—International, and
                                   check this box to indicate you are reporting items of international tax relevance . . . . . . . . . . . . . . . . .                                                                      X
                           15a Post-1986 depreciation adjustment                                                                                                                                                                   15a
    (AMT) Items
     Alternative




                             b Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   15b
                             c Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                15c
                             d Oil, gas, and geothermal properties – gross income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      15d
                             e Oil, gas, and geothermal properties – deductions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  15e
                             f Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    15f
                           16a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            16a
    Items Affecting
      Shareholder




                             b Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         16b
                             c Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        16c
        Basis




                             d Distributions (attach statement if required) (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           16d
                             e Repayment of loans from shareholders . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                          16e          59,870
                             f Foreign taxes paid or accrued . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             16f
                                                                                                                                                                                                                                         Form 1120-S (2023)




    DAA
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 53 of 83
00068GIWIAU 06/13/2024 9:48 AM




    Form 1120-S (2023) COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                                                                                                               Page 4
    Schedule K Shareholders' Pro Rata Share Items (continued)                                                                                                                                                                       Total amount
     ciliation Information


           17a Investment income . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   17a
                  Other




             b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       17b
             c Dividend distributions paid from accumulated earnings and profits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       17c
             d Other items and amounts (attach statement) . . . . . . . . . . . . . . . SEE                          . . . . . . . . . STATEMENT
                                                                                                                                       . . . . . . . . . . . . . . . . . . . . . .2................
     Recon-




                             18       Income (loss) reconciliation. Combine the total amounts on lines 1 through 10. From the result,
                                      subtract the sum of the amounts on lines 11 through 12d and 16f . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 18                 -167,003
     Schedule L                                  Balance Sheets per Books                                                  Beginning of tax year                                                                     End of tax year

                                                   Assets                                                          (a)                                        (b)                                          (c)                              (d)
     1                 Cash . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       96,473                                                                       88,444
     2a                Trade notes and accounts receivable . . . . .                                                20,607                                                                                                 0
      b                Less allowance for bad debts . . . . . . . . . . . . .                               (            0)                                     20,607 (                                                   0)                     0
     3                 Inventories . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                              12,414                                                                       24,819
     4                 U.S. government obligations . . . . . . . . . . . . . .
     5                 Tax-exempt securities (see instructions) . .
     6                 Other current assets (attach statement) . . . . . . . . . . . . . .
     7                 Loans to shareholders . . . . . . . . . . . . . . . . . . . .
     8                 Mortgage and real estate loans . . . . . . . . . . .
     9                 Other investments (attach statement) . . . . . . . . . . . . . . . .
    10a                Buildings and other depreciable assets . . .                                               631,513                                                                                631,516
      b                Less accumulated depreciation . . . . . . . . . . . (                                      553,995 )                                     77,518 (                                 564,438 )                           67,078
    11a                Depletable assets . . . . . . . . . . . . . . . . . . . . . . . . .
      b                Less accumulated depletion . . . . . . . . . . . . . . (                                                          )                                               (                                  )
    12                 Land (net of any amortization) . . . . . . . . . . . .
    13a                Intangible assets (amortizable only) . . . . . .                                         1,378,816                                                                         1,378,816
      b                Less accumulated amortization . . . . . . . . . . . (                                      634,128 )                                 744,688 (                               723,271 )                              655,545
    14                 Other assets (attach statement) . .STMT          . . . . . . . . . . .3..                                                             22,820                                                                         22,817
    15                 Total assets . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                           974,520                                                                        858,703
                             Liabilities and Shareholders' Equity
    16                 Accounts payable . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     4,753                                                                          1,558
    17                 Mortgages, notes, bonds payable in less than 1 year                                                                                  219,021                                                                              0
    18                                                                          STMT 4
                       Other current liabilities (attach statement) . . . . . . . . . . . . .                                                                 3,788                                                                        279,884
    19                 Loans from shareholders . . . . . . . . . . . . . . . . . .                                                                          251,609                                                                        191,739
    20                 Mortgages, notes, bonds payable in 1 year or more                                                                                    890,259                                                                        947,435
    21                 Other liabilities (attach statement) . . . . . . . . . . . . .
    22                 Capital stock . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
    23                 Additional paid-in capital . . . . . . . . . . . . . . . . . .
    24                 Retained earnings . . . . . . . . . . . . . . . . . . . . . . . . .                                                               -394,910                                                                        -561,913
    25                 Adjustments to shareholders'
                       equity (attach statement) . . . . . . . . . . . . . . . . . . . . . . . .
    26                 Less cost of treasury stock . . . . . . . . . . . . . . . .                                                        (                                          )                                          (                       )
    27                 Total liabilities and shareholders' equity . .                                                                                       974,520                                                                        858,703
                                                                                                                                                                                                                                     Form 1120-S (2023)




    DAA
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 54 of 83
00068GIWIAU 06/13/2024 9:48 AM




    Form 1120-S (2023) COWAN                                  FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                             Page 5
     Schedule M-1                      Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                               Note: The corporation may be required to file Schedule M-3. See instructions.
      1   Net income (loss) per books . . . . . . . . . . . .                       -167,003 5 Income recorded on books this year not included
      2   Income included on Schedule K, lines 1, 2, 3c, 4,                                     on Schedule K, lines 1 through 10 (itemize):
          5a, 6, 7, 8a, 9, and 10, not recorded on books this                                 a Tax-exempt interest $ . . . . . . . . . . . . . . . . . . . . . . . . . .
          year (itemize): . . . . . . . . . . . . . . . . . . . . . . . . . . . . .             . ..............................................
      3 Expenses recorded on books this year                                                 6 Deductions included on Schedule K,
          not included on Schedule K, lines 1                                                   lines 1 through 12, and 16f, not charged
          through 12 and 16f (itemize):                                                         against book income this year (itemize):
       a Depreciation $ . . . . . . . . . . . . . . . . . . . . . . . . . .                   a Depreciation $ . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
       b Travel and         $ ..........................
          entertainment                                                                         . ..............................................
         ............................................                                        7 Add lines 5 and 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      4 Add lines 1 through 3 . . . . . . . . . . . . . . . . . . .                 -167,003 8 Income (loss) (Schedule K, line 18). Subtract line 7 from line 4                       -167,003
     Schedule M-2 Analysis of Accumulated Adjustments Account, Shareholders’ Undistributed Taxable Income
                  Previously Taxed, Accumulated Earnings and Profits, and Other Adjustments Account
                  (see instructions)
                                                                                                (a) Accumulated             (b) Shareholders'       (c) Accumulated              (d) Other adjustments
                                                                                               adjustments account        undistributed taxable    earnings and profits                account
                                                                                                                         income previously taxed

      1    Balance at beginning of tax year . . . . . . . . . .                                    -394,910
      2    Ordinary income from page 1, line 22 . . . . .
      3    Other additions . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      4    Loss from page 1, line 22 . . . . . . . . . . . . . . . . .                     (         167,003 )
      5    Other reductions . . . . . . . . . . . . . . . . . . . . . . . . . .            (                         )                                                       (                           )
      6    Combine lines 1 through 5 . . . . . . . . . . . . . . . .                               -561,913
      7    Distributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
      8    Balance at end of tax year. Subtract line 7
           from line 6 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           -561,913
                                                                                                                                                                                 Form 1120-S (2023)




    DAA
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 55 of 83
00068GIWIAU 06/13/2024 9:48 AM




    Form   1125-A                                                                                           Cost of Goods Sold
    (Rev. November 2018)                                                                                                                                                                                                           OMB No. 1545-0123
    Department of the Treasury                                                    Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
    Internal Revenue Service                                                     Go to www.irs.gov/Form1125A for the latest information.
    Name                                                                                                                                                                                            Employer identification number
       COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                                          XX-XXXXXXX
       1      Inventory at beginning of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        1              12,414
       2      Purchases . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   2              26,415
       3      Cost of labor . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     3
       4      Additional section 263A costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             4
       5      Other costs (attach schedule) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                       5
       6      Total. Add lines 1 through 5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      6              38,829
       7      Inventory at end of year . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                7              24,819
       8      Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
              appropriate line of your tax return. See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                             8              14,010
       9a     Check all methods used for valuing closing inventory:
                (i) X Cost
               (ii)      Lower of cost or market
              (iii)      Other (Specify method used and attach explanation.)  . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          b   Check if there was a writedown of subnormal goods . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 
          c   Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) . . . . . . . . . . . . . . . . . . . . . . . . 
          d   If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
              under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .  9d
          e   If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions . . . . . . . . . .                                                                                                     Yes   X No
          f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
              attach explanation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Yes   X No
    For Paperwork Reduction Act Notice, see instructions.                                                                                                                                                              Form     1125-A (Rev. 11-2018)




    DAA
      25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 56 of 83
00068GIWIAU 06/13/2024 9:48 AM




                                                                                                                                                                                                                                         
                                                                                                                                                  Final K-1                        Amended K-1                                  OMB No. 1545-0123

    Schedule K-1                                                                                                            2023             Part III           Shareholder's Share of Current Year Income,
    (Form 1120-S)                                                                                     For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
    Department of the Treasury                                                                                                              1       Ordinary business income (loss)              13   Credits
    Internal Revenue Service
                                                                                                                                                                -83,502
                                      beginning                                                        ending                                2      Net rental real estate income (loss)


    Shareholder's Share of Income, Deductions,                                                                                               3      Other net rental income (loss)
    Credits, etc.             See separate instructions.
                                                                                                                                            4       Interest income
                        Part I             Information About the Corporation
        A Corporation's employer identification number                                                                                       5a     Ordinary dividends

                        XX-XXXXXXX
        B               Corporation's name, address, city, state, and ZIP code                                                               5b     Qualified dividends                          14   Schedule K-3 is attached if
                        COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                            checked . . . . . . . . . . . . . . . . . .   X
                                                                                                                                             6      Royalties                                    15   Alternative minimum tax (AMT) items
                        808 SHADY BLUFF COVE
                        ROUND ROCK           TX 78665                                                                                        7      Net short-term capital gain (loss)


        C IRS Center where corporation filed return                                                                                          8a     Net long-term capital gain (loss)

                        E-FILE
        D Corporation’s total number of shares                                                                                               8b     Collectibles (28%) gain (loss)
                             Beginning of tax year
                                                             .....................                                            100
                             End of tax year
                                                    ..........................                                                100           8c      Unrecaptured section 1250 gain


                                                                                                                                            9       Net section 1231 gain (loss)                 16   Items affecting shareholder basis
                        Part II            Information About the Shareholder
                                                                                                                                                                                                 E                       29,935
        E               Shareholder's identifying number                                                                                    10      Other income (loss)


        F               Shareholder's name, address, city, state, and ZIP code
                        GREGORY COWAN
                        808 SHADY BLUFF COVE

                        ROUND ROCK                                                    TX 78665

                                                                                                                                                                                                 17   Other information

        G Current year allocation percentage
                                                                       ..............                      50.000000 %                                                                       V*                                                 STMT
                                                                                                                                            11      Section 179 deduction

        H Shareholder’s number of shares                                                                                                                                                     ZZ*                                                STMT
                          Beginning of tax year . . . . . . . . . . . . . . . . . . . . . .                                     50          12      Other deductions

                          End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 50
        I               Loans from shareholder
                          Beginning of tax year . . . . . . . . . . . . . . . . . . . . . .       $                125,805
                          End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . .   $                 95,870
     For IRS Use Only




                                                                                                                                            18         More than one activity for at-risk purposes*
                                                                                                                                            19         More than one activity for passive activity purposes*

                                                                                                                                                   * See attached statement for additional information.
    For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.
                                                                            www.irs.gov/Form1120S                                                                                                     Schedule K-1 (Form 1120-S) 2023
    DAA
      25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 57 of 83
00068GIWIAU 06/13/2024 9:48 AM




                                                                                                                                                                                                                                         
                                                                                                                                                  Final K-1                        Amended K-1                                  OMB No. 1545-0123

    Schedule K-1                                                                                                            2023             Part III           Shareholder's Share of Current Year Income,
    (Form 1120-S)                                                                                     For calendar year 2023, or tax year                       Deductions, Credits, and Other Items
    Department of the Treasury                                                                                                              1       Ordinary business income (loss)              13   Credits
    Internal Revenue Service
                                                                                                                                                                -83,501
                                      beginning                                                        ending                                2      Net rental real estate income (loss)


    Shareholder's Share of Income, Deductions,                                                                                               3      Other net rental income (loss)
    Credits, etc.             See separate instructions.
                                                                                                                                            4       Interest income
                        Part I             Information About the Corporation
        A Corporation's employer identification number                                                                                       5a     Ordinary dividends

                        XX-XXXXXXX
        B               Corporation's name, address, city, state, and ZIP code                                                               5b     Qualified dividends                          14   Schedule K-3 is attached if
                        COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                            checked . . . . . . . . . . . . . . . . . .   X
                                                                                                                                             6      Royalties                                    15   Alternative minimum tax (AMT) items
                        808 SHADY BLUFF COVE
                        ROUND ROCK           TX 78665                                                                                        7      Net short-term capital gain (loss)


        C IRS Center where corporation filed return                                                                                          8a     Net long-term capital gain (loss)

                        E-FILE
        D Corporation’s total number of shares                                                                                               8b     Collectibles (28%) gain (loss)
                             Beginning of tax year
                                                             .....................                                            100
                             End of tax year
                                                    ..........................                                                100           8c      Unrecaptured section 1250 gain


                                                                                                                                            9       Net section 1231 gain (loss)                 16   Items affecting shareholder basis
                        Part II            Information About the Shareholder
                                                                                                                                                                                                 E                       29,935
        E               Shareholder's identifying number                                                                                    10      Other income (loss)


        F               Shareholder's name, address, city, state, and ZIP code
                        KATHERINE COWAN
                        808 SHADY BLUFF COVE

                        ROUND ROCK                                                    TX 78665

                                                                                                                                                                                                 17   Other information

        G Current year allocation percentage
                                                                       ..............                      50.000000 %                                                                       V*                                                 STMT
                                                                                                                                            11      Section 179 deduction

        H Shareholder’s number of shares                                                                                                                                                     ZZ*                                                STMT
                          Beginning of tax year . . . . . . . . . . . . . . . . . . . . . .                                     50          12      Other deductions

                          End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 50
        I               Loans from shareholder
                          Beginning of tax year . . . . . . . . . . . . . . . . . . . . . .       $                125,804
                          End of tax year . . . . . . . . . . . . . . . . . . . . . . . . . . .   $                 95,869
     For IRS Use Only




                                                                                                                                            18         More than one activity for at-risk purposes*
                                                                                                                                            19         More than one activity for passive activity purposes*

                                                                                                                                                   * See attached statement for additional information.
    For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.
                                                                            www.irs.gov/Form1120S                                                                                                     Schedule K-1 (Form 1120-S) 2023
    DAA
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 58 of 83
00068GIWIAU 06/13/2024 9:48 AM




                                                                                                                                                          Final K-3                      Amended K-3
    Schedule K-3                                                              Shareholder’s Share of Income, Deductions,                                                                                                  OMB No. 1545-0123
    (Form 1120-S)
                                                                                      Credits, etc.—International
    Department of the Treasury
                                                         For calendar year 2023, or tax year beginning                                                              , ending                                                     2023
    Internal Revenue Service                                                              See separate instructions.
                                  Information About the Corporation                                                                                        Information About the Shareholder
          A Corporation’s employer identification number (EIN)                                                                         C Shareholder’s identifying number



      XX-XXXXXXX
          B Corporation’s name, address, city, state, and ZIP code                                                                     D Shareholder’s name, address, city, state, and ZIP code
            COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                         GREGORY COWAN
                                                                                                                                       808 SHADY BLUFF COVE
            808 SHADY BLUFF COVE
            ROUND ROCK          TX 78665                                                                                               ROUND ROCK                                                       TX 78665

          E             Check to indicate the parts of Schedule K-3 that apply.                                                                                                                                                       Yes   No
                         1   Does Part I apply? If “Yes,” complete and attach Part I . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1         X
                         2   Does Part II apply? If “Yes,” complete and attach Part II . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    2   X
                         3   Does Part III apply? If “Yes,” complete and attach Part III . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    3   X
                         4   Does Part IV apply? If “Yes,” complete and attach Part IV . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        4         X
                         5   Does Part V apply? If “Yes,” complete and attach Part V . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        5         X
                         6   Does Part VI apply? If “Yes,” complete and attach Part VI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        6         X
                         7   Does Part VII apply? If “Yes,” complete and attach Part VII . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        7         X
     For IRS Use Only




    For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                                                                          www.irs.gov/Form1120S                        Schedule K-3 (Form 1120-S) 2023




    DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 59 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                     Page 2
                                                                                               Corporation’s name                                                                        EIN                     Shareholder’s name                                                       Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                     GREGORY COWAN
                                                                                                Part I               Shareholder’s Share of Corporation’s Other Current Year International Information
                                                                                             Check box(es) for additional specified attachments. See instructions.
                                                                                                1. Gain on personal property sale                          5. High-taxed income                                                        8. Form 5471 information         11. Entity treatment for certain S corporations
                                                                                                2. Foreign oil and gas taxes                               6. Section 267A disallowed deduction                                        9. Other forms                   12. Form 8865 information
                                                                                                3. Splitter arrangements                                   7. Form 8858 information                                                   10. Shareholder loan transactions 13. Other international items
                                                                                                4. Foreign tax translation                                                                                                                                                  (attach description and statement)
                                                                                               Part II   Foreign Tax Credit Limitation
                                                                                               Section 1—Gross Income
                                                                                                                                                                                                                         Foreign Source
                                                                                                                                                                                                                                                                               (f) Sourced by
                                                                                                                              Description                              (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General              (e) Other                                   (g) Total
                                                                                                                                                                                                                                                                                 shareholder
                                                                                                                                                                                          category income     category income     category income      (category code      )
                                                                                                   1       Sales
                                                                                                       A      US                                                            418,138                                                                                                                        418,138
                                                                                                       B
                                                                                                       C
                                                                                                   2       Gross income from performance of services
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                   3       Gross rental real estate income
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                   4       Other gross rental income
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                5          Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                6          Interest income
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                7          Ordinary dividends (exclude amount
                                                                                                           on line 8)
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                                                                                                                                                                                                   Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 60 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                           Page 3
                                                                                               Corporation’s name                                                                     EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                  GREGORY COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 1—Gross Income (continued)
                                                                                                                                                                                                                      Foreign Source
                                                                                                                                                                                                                                                                       (f) Sourced by
                                                                                                                           Description                              (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                               (g) Total
                                                                                                                                                                                                                                                                         shareholder
                                                                                                                                                                                       category income     category income     category income   (category code    )
                                                                                                8       Qualified dividends
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                                9       Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               10       Royalties and license fees
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               11       Net short-term capital gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               12       Net long-term capital gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               13       Collectibles (28%) gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               14       Unrecaptured section 1250 gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               15       Net section 1231 gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                                                                                                                                                                                                          Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 61 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                      Page 4
                                                                                               Corporation’s name                                                                                EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                             GREGORY COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 1—Gross Income (continued)
                                                                                                                                                                                                                                 Foreign Source
                                                                                                                                                                                                                                                                                  (f) Sourced by
                                                                                                                               Description                                     (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                               (g) Total
                                                                                                                                                                                                                                                                                    shareholder
                                                                                                                                                                                                  category income     category income     category income   (category code    )
                                                                                               16       Section 986(c) gain . . . . . . . . . . . . . . . . . . . . . .
                                                                                               17       Section 987 gain . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               18       Section 988 gain . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               19       Section 951(a) inclusions
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               20       Other income (see instructions)
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               21 Section 951A(a) inclusions (see
                                                                                                   instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               22 Reserved for future use
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               23 Reserved for future use
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               24 Total gross income (combine lines 1
                                                                                                   through 23) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          418,138                                                                                                                 418,138
                                                                                                 A US                                                                               418,138                                                                                                                 418,138
                                                                                                 B
                                                                                                 C
                                                                                                                                                                                                                                                                                     Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 62 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                            Page 5
                                                                                               Corporation’s name                                                                                      EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                   GREGORY COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 2—Deductions
                                                                                                                                                                                                                                       Foreign Source
                                                                                                                                                                                                                                                                                        (f) Sourced by
                                                                                                                                Description                                          (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                               (g) Total
                                                                                                                                                                                                                                                                                          shareholder
                                                                                                                                                                                                        category income     category income     category income   (category code    )
                                                                                               25 Expenses allocable to sales income . . . .                                              466,268                                                                                                                 466,268
                                                                                               26 Expenses allocable to gross income
                                                                                                   from performances of services . . . . . . . . . .
                                                                                               27 Net short-term capital loss . . . . . . . . . . . . . . .
                                                                                               28 Net long-term capital loss . . . . . . . . . . . . . . .
                                                                                               29 Collectibles loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               30 Net section 1231 loss . . . . . . . . . . . . . . . . . . . .
                                                                                               31 Other losses . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               32 Research & experimental (R&E) expenses
                                                                                                 A SIC code:
                                                                                                 B SIC code:
                                                                                                 C SIC code:
                                                                                               33 Allocable rental expenses—
                                                                                                   depreciation, depletion, and amortization
                                                                                               34 Allocable rental expenses—other than
                                                                                                   depreciation, depletion, and amortization
                                                                                               35 Allocable royalty and licensing
                                                                                                   expenses—depreciation, depletion,
                                                                                                   and amortization . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               36 Allocable royalty and licensing
                                                                                                   expenses—other than depreciation,
                                                                                                   depletion, and amortization . . . . . . . . . . . . . .
                                                                                               37 Depreciation not included on line 33
                                                                                                   or 35 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            5,222                                                                                                                   5,222
                                                                                               38 Charitable contributions . . . . . . . . . . . . . . . . .
                                                                                               39 Interest expense specifically allocable
                                                                                                   under Regulations section 1.861-10(e) . .
                                                                                               40 Other interest expense specifically
                                                                                                   allocable under Regulations section
                                                                                                   1.861-10T . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                30,151                                                                                                                  30,151
                                                                                               41 Other interest expense—business . . . . . .
                                                                                               42 Other interest expense—investment . . . .
                                                                                               43 Other interest expense—passive activity
                                                                                               44 Section 59(e)(2) expenditures,
                                                                                                   excluding R&E expenses on line 32 . . . . .
                                                                                               45 Foreign taxes not creditable but
                                                                                                   deductible . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                             DAA                                                                                                                                                                                           Schedule K-3 (Form 1120-S) 2023
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 63 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                           Page 6
                                                                                               Corporation’s name                                                                                  EIN                      Shareholder’s name                                                  Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                GREGORY COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 2—Deductions (continued)
                                                                                                                                                                                                                                   Foreign Source
                                                                                                                                                                                                                                                                                       (f) Sourced by
                                                                                                                             Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General              (e) Other                               (g) Total
                                                                                                                                                                                                                                                                                         shareholder
                                                                                                                                                                                                    category income     category income     category income      (category code    )
                                                                                               46    Section 986(c) loss . . . . . . . . . . . . . . . . . . . . . .
                                                                                               47    Section 987 loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               48    Section 988 loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               49    Other allocable deductions (see
                                                                                                     instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               50    Other apportioned share of
                                                                                                     deductions (see instructions) . . . . . . . . . . . .
                                                                                               51    Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               52    Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               53    Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               54    Total deductions (combine lines 25
                                                                                                     through 53) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          501,641                                                                                                                    501,641
                                                                                               55    Net income (loss) (subtract line 54
                                                                                                     from line 24) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          -83,503                                                                                                                    -83,503
                                                                                               Part III  Other Information for Preparation of Form 1116
                                                                                               Section 1—R&E Expenses Apportionment Factors
                                                                                                                                                                                                                                  Foreign Source
                                                                                                                                                                                                                                                                      (e) Other        (f) Sourced by
                                                                                                                             Description                                         (a) U.S. source   (b) Foreign branch (c) Passive category (d) General category                                                (g) Total
                                                                                                                                                                                                                                                                (category code     )     shareholder
                                                                                                                                                                                                    category income          income              income
                                                                                                                                                                                                                                                                (country code      )
                                                                                                1 Gross receipts by SIC code
                                                                                                  A SIC code:
                                                                                                  B SIC code:
                                                                                                  C SIC code:
                                                                                                  D SIC code:
                                                                                                  E SIC code:
                                                                                                  F SIC code:
                                                                                                2   Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32.
                                                                                                  A R&E expense with respect to activity performed in the United States
                                                                                                    (i)   SIC code:           . .........................................................................................................................................
                                                                                                                                                                                                                                                                             2A(i)
                                                                                                    (ii) SIC code:            . .........................................................................................................................................
                                                                                                                                                                                                                                                                            2A(ii)
                                                                                                    (iii) SIC code:           . .........................................................................................................................................
                                                                                                                                                                                                                                                                            2A(iii)
                                                                                                  B R&E expense with respect to activity performed outside the United States
                                                                                                    (i)   SIC code:           . .........................................................................................................................................
                                                                                                                                                                                                                                                                             2B(i)
                                                                                                    (ii) SIC code:             . .........................................................................................................................................
                                                                                                                                                                                                                                                                            2B(ii)
                                                                                                    (iii) SIC code:           . .........................................................................................................................................   2B(iii)
                                                                                                                                                                                                                                                                       Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 64 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                             Page 7
                                                                                               Corporation’s name                                                                                       EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                    GREGORY COWAN
                                                                                               Part III  Other Information for Preparation of Form 1116 (continued)
                                                                                               Section 2—Interest Expense Apportionment Factors
                                                                                                                                                                                                                                       Foreign Source
                                                                                                                                                                                                                                                                         (e) Other       (f) Sourced by
                                                                                                                                  Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General                                                   (g) Total
                                                                                                                                                                                                                                                                   (category code    )     shareholder
                                                                                                                                                                                                         category income     category income     category income
                                                                                                                                                                                                                                                                   (country code     )
                                                                                                   1 Total average value of assets . . . . . . . . . . .                                   458,306                                                                                                                 458,306
                                                                                                   2 Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                   3 Assets attracting directly allocable
                                                                                                      interest expense under Regulations
                                                                                                      section 1.861-10(e) . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   4 Other assets attracting directly
                                                                                                      allocable interest expense under
                                                                                                      Regulations section 1.861-10T . . . . . . . . . .
                                                                                                   5 Assets excluded from apportionment
                                                                                                      formula . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   6a Total assets used for apportionment
                                                                                                      (subtract the sum of lines 3, 4, and 5
                                                                                                      from the sum of lines 1 and 2) . . . . . . . . . . .                                 458,306                                                                                                                 458,306
                                                                                                    b Assets attracting business interest
                                                                                                      expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                    c Assets attracting investment interest
                                                                                                      expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                    d Assets attracting passive activity
                                                                                                      interest expense . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   7 Basis in stock of 10%-owned
                                                                                                      noncontrolled foreign corporations
                                                                                                      (see attachment) . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   8  Basis in stock of CFCs (see attachment) . . . . . . . . .
                                                                                                                                                                                                                                                                                            Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
     25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 65 of 83
00068GIWIAU 06/13/2024 9:48 AM




                                                                                                                                                          Final K-3                      Amended K-3
    Schedule K-3                                                              Shareholder’s Share of Income, Deductions,                                                                                                  OMB No. 1545-0123
    (Form 1120-S)
                                                                                      Credits, etc.—International
    Department of the Treasury
                                                         For calendar year 2023, or tax year beginning                                                              , ending                                                     2023
    Internal Revenue Service                                                              See separate instructions.
                                  Information About the Corporation                                                                                        Information About the Shareholder
          A Corporation’s employer identification number (EIN)                                                                         C Shareholder’s identifying number



      XX-XXXXXXX
          B Corporation’s name, address, city, state, and ZIP code                                                                     D Shareholder’s name, address, city, state, and ZIP code
            COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                         KATHERINE COWAN
                                                                                                                                       808 SHADY BLUFF COVE
            808 SHADY BLUFF COVE
            ROUND ROCK          TX 78665                                                                                               ROUND ROCK                                                       TX 78665

          E             Check to indicate the parts of Schedule K-3 that apply.                                                                                                                                                       Yes   No
                         1   Does Part I apply? If “Yes,” complete and attach Part I . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1         X
                         2   Does Part II apply? If “Yes,” complete and attach Part II . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    2   X
                         3   Does Part III apply? If “Yes,” complete and attach Part III . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    3   X
                         4   Does Part IV apply? If “Yes,” complete and attach Part IV . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        4         X
                         5   Does Part V apply? If “Yes,” complete and attach Part V . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        5         X
                         6   Does Part VI apply? If “Yes,” complete and attach Part VI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        6         X
                         7   Does Part VII apply? If “Yes,” complete and attach Part VII . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        7         X
     For IRS Use Only




    For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                                                                          www.irs.gov/Form1120S                        Schedule K-3 (Form 1120-S) 2023




    DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 66 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                     Page 2
                                                                                               Corporation’s name                                                                        EIN                     Shareholder’s name                                                       Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                     KATHERINE COWAN
                                                                                                Part I               Shareholder’s Share of Corporation’s Other Current Year International Information
                                                                                             Check box(es) for additional specified attachments. See instructions.
                                                                                                1. Gain on personal property sale                          5. High-taxed income                                                        8. Form 5471 information         11. Entity treatment for certain S corporations
                                                                                                2. Foreign oil and gas taxes                               6. Section 267A disallowed deduction                                        9. Other forms                   12. Form 8865 information
                                                                                                3. Splitter arrangements                                   7. Form 8858 information                                                   10. Shareholder loan transactions 13. Other international items
                                                                                                4. Foreign tax translation                                                                                                                                                  (attach description and statement)
                                                                                               Part II   Foreign Tax Credit Limitation
                                                                                               Section 1—Gross Income
                                                                                                                                                                                                                         Foreign Source
                                                                                                                                                                                                                                                                               (f) Sourced by
                                                                                                                              Description                              (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General              (e) Other                                   (g) Total
                                                                                                                                                                                                                                                                                 shareholder
                                                                                                                                                                                          category income     category income     category income      (category code      )
                                                                                                   1       Sales
                                                                                                       A      US                                                            418,138                                                                                                                        418,138
                                                                                                       B
                                                                                                       C
                                                                                                   2       Gross income from performance of services
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                   3       Gross rental real estate income
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                   4       Other gross rental income
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                5          Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                6          Interest income
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                7          Ordinary dividends (exclude amount
                                                                                                           on line 8)
                                                                                                       A
                                                                                                       B
                                                                                                       C
                                                                                                                                                                                                                                                                                   Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 67 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                           Page 3
                                                                                               Corporation’s name                                                                     EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                  KATHERINE COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 1—Gross Income (continued)
                                                                                                                                                                                                                      Foreign Source
                                                                                                                                                                                                                                                                       (f) Sourced by
                                                                                                                           Description                              (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                               (g) Total
                                                                                                                                                                                                                                                                         shareholder
                                                                                                                                                                                       category income     category income     category income   (category code    )
                                                                                                8       Qualified dividends
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                                9       Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               10       Royalties and license fees
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               11       Net short-term capital gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               12       Net long-term capital gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               13       Collectibles (28%) gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               14       Unrecaptured section 1250 gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               15       Net section 1231 gain
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                                                                                                                                                                                                          Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 68 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                      Page 4
                                                                                               Corporation’s name                                                                                EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                             KATHERINE COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 1—Gross Income (continued)
                                                                                                                                                                                                                                 Foreign Source
                                                                                                                                                                                                                                                                                  (f) Sourced by
                                                                                                                               Description                                     (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                               (g) Total
                                                                                                                                                                                                                                                                                    shareholder
                                                                                                                                                                                                  category income     category income     category income   (category code    )
                                                                                               16       Section 986(c) gain . . . . . . . . . . . . . . . . . . . . . .
                                                                                               17       Section 987 gain . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               18       Section 988 gain . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               19       Section 951(a) inclusions
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               20       Other income (see instructions)
                                                                                                    A
                                                                                                    B
                                                                                                    C
                                                                                               21 Section 951A(a) inclusions (see
                                                                                                   instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               22 Reserved for future use
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               23 Reserved for future use
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               24 Total gross income (combine lines 1
                                                                                                   through 23) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          418,138                                                                                                                 418,138
                                                                                                 A US                                                                               418,138                                                                                                                 418,138
                                                                                                 B
                                                                                                 C
                                                                                                                                                                                                                                                                                     Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 69 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                            Page 5
                                                                                               Corporation’s name                                                                                      EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                   KATHERINE COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 2—Deductions
                                                                                                                                                                                                                                       Foreign Source
                                                                                                                                                                                                                                                                                        (f) Sourced by
                                                                                                                                Description                                          (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                               (g) Total
                                                                                                                                                                                                                                                                                          shareholder
                                                                                                                                                                                                        category income     category income     category income   (category code    )
                                                                                               25 Expenses allocable to sales income . . . .                                              466,267                                                                                                                 466,267
                                                                                               26 Expenses allocable to gross income
                                                                                                   from performances of services . . . . . . . . . .
                                                                                               27 Net short-term capital loss . . . . . . . . . . . . . . .
                                                                                               28 Net long-term capital loss . . . . . . . . . . . . . . .
                                                                                               29 Collectibles loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               30 Net section 1231 loss . . . . . . . . . . . . . . . . . . . .
                                                                                               31 Other losses . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               32 Research & experimental (R&E) expenses
                                                                                                 A SIC code:
                                                                                                 B SIC code:
                                                                                                 C SIC code:
                                                                                               33 Allocable rental expenses—
                                                                                                   depreciation, depletion, and amortization
                                                                                               34 Allocable rental expenses—other than
                                                                                                   depreciation, depletion, and amortization
                                                                                               35 Allocable royalty and licensing
                                                                                                   expenses—depreciation, depletion,
                                                                                                   and amortization . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               36 Allocable royalty and licensing
                                                                                                   expenses—other than depreciation,
                                                                                                   depletion, and amortization . . . . . . . . . . . . . .
                                                                                               37 Depreciation not included on line 33
                                                                                                   or 35 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            5,221                                                                                                                   5,221
                                                                                               38 Charitable contributions . . . . . . . . . . . . . . . . .
                                                                                               39 Interest expense specifically allocable
                                                                                                   under Regulations section 1.861-10(e) . .
                                                                                               40 Other interest expense specifically
                                                                                                   allocable under Regulations section
                                                                                                   1.861-10T . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                30,150                                                                                                                  30,150
                                                                                               41 Other interest expense—business . . . . . .
                                                                                               42 Other interest expense—investment . . . .
                                                                                               43 Other interest expense—passive activity
                                                                                               44 Section 59(e)(2) expenditures,
                                                                                                   excluding R&E expenses on line 32 . . . . .
                                                                                               45 Foreign taxes not creditable but
                                                                                                   deductible . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                             DAA                                                                                                                                                                                           Schedule K-3 (Form 1120-S) 2023
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 70 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                           Page 6
                                                                                               Corporation’s name                                                                                  EIN                      Shareholder’s name                                                  Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                KATHERINE COWAN
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 2—Deductions (continued)
                                                                                                                                                                                                                                   Foreign Source
                                                                                                                                                                                                                                                                                       (f) Sourced by
                                                                                                                             Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General              (e) Other                               (g) Total
                                                                                                                                                                                                                                                                                         shareholder
                                                                                                                                                                                                    category income     category income     category income      (category code    )
                                                                                               46    Section 986(c) loss . . . . . . . . . . . . . . . . . . . . . .
                                                                                               47    Section 987 loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               48    Section 988 loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               49    Other allocable deductions (see
                                                                                                     instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                               50    Other apportioned share of
                                                                                                     deductions (see instructions) . . . . . . . . . . . .
                                                                                               51    Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               52    Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               53    Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                               54    Total deductions (combine lines 25
                                                                                                     through 53) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          501,638                                                                                                                    501,638
                                                                                               55    Net income (loss) (subtract line 54
                                                                                                     from line 24) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          -83,500                                                                                                                    -83,500
                                                                                               Part III  Other Information for Preparation of Form 1116
                                                                                               Section 1—R&E Expenses Apportionment Factors
                                                                                                                                                                                                                                  Foreign Source
                                                                                                                                                                                                                                                                      (e) Other        (f) Sourced by
                                                                                                                             Description                                         (a) U.S. source   (b) Foreign branch (c) Passive category (d) General category                                                (g) Total
                                                                                                                                                                                                                                                                (category code     )     shareholder
                                                                                                                                                                                                    category income          income              income
                                                                                                                                                                                                                                                                (country code      )
                                                                                                1 Gross receipts by SIC code
                                                                                                  A SIC code:
                                                                                                  B SIC code:
                                                                                                  C SIC code:
                                                                                                  D SIC code:
                                                                                                  E SIC code:
                                                                                                  F SIC code:
                                                                                                2   Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32.
                                                                                                  A R&E expense with respect to activity performed in the United States
                                                                                                    (i)   SIC code:           . .........................................................................................................................................
                                                                                                                                                                                                                                                                             2A(i)
                                                                                                    (ii) SIC code:            . .........................................................................................................................................
                                                                                                                                                                                                                                                                            2A(ii)
                                                                                                    (iii) SIC code:           . .........................................................................................................................................
                                                                                                                                                                                                                                                                            2A(iii)
                                                                                                  B R&E expense with respect to activity performed outside the United States
                                                                                                    (i)   SIC code:           . .........................................................................................................................................
                                                                                                                                                                                                                                                                             2B(i)
                                                                                                    (ii) SIC code:             . .........................................................................................................................................
                                                                                                                                                                                                                                                                            2B(ii)
                                                                                                    (iii) SIC code:           . .........................................................................................................................................   2B(iii)
                                                                                                                                                                                                                                                                       Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 71 of 83




                                                                                             Schedule K-3 (Form 1120-S) 2023                                                                                                                                                                                             Page 7
                                                                                               Corporation’s name                                                                                       EIN                     Shareholder’s name                                                Shareholder’s identifying number
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC XX-XXXXXXX                                                                                    KATHERINE COWAN
                                                                                               Part III  Other Information for Preparation of Form 1116 (continued)
                                                                                               Section 2—Interest Expense Apportionment Factors
                                                                                                                                                                                                                                       Foreign Source
                                                                                                                                                                                                                                                                         (e) Other       (f) Sourced by
                                                                                                                                  Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General                                                   (g) Total
                                                                                                                                                                                                                                                                   (category code    )     shareholder
                                                                                                                                                                                                         category income     category income     category income
                                                                                                                                                                                                                                                                   (country code     )
                                                                                                   1 Total average value of assets . . . . . . . . . . .                                   458,306                                                                                                                 458,306
                                                                                                   2 Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                   3 Assets attracting directly allocable
                                                                                                      interest expense under Regulations
                                                                                                      section 1.861-10(e) . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   4 Other assets attracting directly
                                                                                                      allocable interest expense under
                                                                                                      Regulations section 1.861-10T . . . . . . . . . .
                                                                                                   5 Assets excluded from apportionment
                                                                                                      formula . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   6a Total assets used for apportionment
                                                                                                      (subtract the sum of lines 3, 4, and 5
                                                                                                      from the sum of lines 1 and 2) . . . . . . . . . . .                                 458,306                                                                                                                 458,306
                                                                                                    b Assets attracting business interest
                                                                                                      expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                    c Assets attracting investment interest
                                                                                                      expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                    d Assets attracting passive activity
                                                                                                      interest expense . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   7 Basis in stock of 10%-owned
                                                                                                      noncontrolled foreign corporations
                                                                                                      (see attachment) . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                   8  Basis in stock of CFCs (see attachment) . . . . . . . . .
                                                                                                                                                                                                                                                                                            Schedule K-3 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 72 of 83




                                                                                                                                                                                                                                                                                                                                                                                                          OMB No. 1545-0123
                                                                                               SCHEDULE K-2
                                                                                               (Form 1120-S)                                                                                       Shareholder's Pro Rata Share Items—International
                                                                                               Department of the Treasury
                                                                                               Internal Revenue Service
                                                                                                                                                                                                                           Attach to Form 1120-S.                                                                                                                                                                   2023
                                                                                                                                                                                                    Go to www.irs.gov/Form1120S for instructions and the latest information.
                                                                                               Name of corporation                                                                                                                                                                                                                                                              Employer identification number (EIN)
                                                                                                 COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                                                                                                                            XX-XXXXXXX
                                                                                               A Check to indicate the parts of Schedule K-2 that apply.
                                                                                                                                                                                                                                                                                                                                                                                                                         Yes     No
                                                                                                     1    Does Part I apply? If “Yes,” complete and attach Part I . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    1           X
                                                                                                     2    Does Part II apply? If “Yes,” complete and attach Part II . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .    2    X
                                                                                                     3    Does Part III apply? If “Yes,” complete and attach Part III . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      3    X
                                                                                                     4    Does Part IV apply? If “Yes,” complete and attach Part IV . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      4           X
                                                                                                     5    Does Part V apply? If “Yes,” complete and attach Part V . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        5           X
                                                                                                     6    Does Part VI apply? If “Yes,” complete and attach Part VI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        6           X
                                                                                                     7    Does Part VII apply? If “Yes,” complete and attach Part VII . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .        7           X
                                                                                                 Part I             Corporation’s Other Current Year International Information
                                                                                               Check box(es) for additional specified attachments. See instructions.
                                                                                                  1. Gain on personal property sale                          5. High-taxed income                                                                                                                           8. Form 5471 information                                         11. Entity treatment for certain S corporations
                                                                                                  2. Foreign oil and gas taxes                               6. Section 267A disallowed deduction                                                                                                           9. Other forms                                                   12. Reserved for future use
                                                                                                  3. Splitter arrangements                                   7. Form 8858 information                                                                                                                       10. Shareholder loan transactions                                13. Other international items
                                                                                                  4. Foreign tax translation                                                                                                                                                                                                                                                     (attach description and statement)
                                                                                                Part II   Foreign Tax Credit Limitation
                                                                                                Section 1—Gross Income
                                                                                                                                                                                                                                                                   Foreign Source
                                                                                                                                                                                                                                                                                                                                                                               (f) Sourced by                        (g) Total
                                                                                                                   Description                                             (a) U.S. source                     (b) Foreign branch                        (c) Passive         (d) General                                                (e)Other
                                                                                                                                                                                                                                                                                                                                                                                 shareholder
                                                                                                                                                                                                                category income                       category income      category income                                       (category code                     )
                                                                                               1 Sales
                                                                                               A   US                                                                                  836,276                                                                                                                                                                                                                           836,276
                                                                                               B
                                                                                               C
                                                                                               2 Gross income from performance of services
                                                                                               A
                                                                                               B
                                                                                               C
                                                                                               3 Gross rental real estate income
                                                                                               A
                                                                                               B
                                                                                               C
                                                                                               4 Other gross rental income
                                                                                               A
                                                                                               B
                                                                                               C
                                                                                               For Paperwork Reduction Act Notice, see the Instructions for Form 1120-S.                                                                                                                                                                                                                    Schedule K-2 (Form 1120-S) 2023
                                                                                               DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
                                                                                                                                                                                                                                                                                             Page 2
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 73 of 83




                                                                                               Schedule K-2 (Form 1120-S) 2023
                                                                                               Name of corporation                                                                                                                                                      EIN
                                                                                                 COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                     XX-XXXXXXX
                                                                                                Part II   Foreign Tax Credit Limitation (continued)
                                                                                                Section 1—Gross Income (continued)
                                                                                                                                                                                                              Foreign Source
                                                                                                                                                                                                                                                               (f) Sourced by         (g) Total
                                                                                                                    Description                           (a) U.S. source   (b) Foreign branch      (c) Passive         (d) General            (e) Other
                                                                                                                                                                                                                                                                 shareholder
                                                                                                                                                                             category income     category income      category income   (category code     )
                                                                                                5 Reserved for future use . . . . . . . . . . . . . . .
                                                                                                6 Interest income
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                                7 Ordinary dividends (exclude amount
                                                                                                  on line 8)
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                                8 Qualified dividends
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                                9 Reserved for future use . . . . . . . . . . . . . . .
                                                                                               10 Royalties and license fees
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               11 Net short-term capital gain
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               12 Net long-term capital gain
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               13 Collectibles (28%) gain
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                               14 Unrecaptured section 1250 gain
                                                                                                 A
                                                                                                 B
                                                                                                 C
                                                                                                                                                                                                                                                                      Schedule K-2 (Form 1120-S) 2023
                                                                                               DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
                                                                                                                                                                                                                                                                                                                  Page 3
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 74 of 83




                                                                                               Schedule K-2 (Form 1120-S) 2023
                                                                                               Name of corporation                                                                                                                                                                           EIN
                                                                                                  COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                                         XX-XXXXXXX
                                                                                                Part II   Foreign Tax Credit Limitation (continued)
                                                                                                Section 1—Gross Income (continued)
                                                                                                                                                                                                                                Foreign Source
                                                                                                                                                                                                                                                                                    (f) Sourced by         (g) Total
                                                                                                                         Description                                            (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General            (e) Other
                                                                                                                                                                                                                                                                                      shareholder
                                                                                                                                                                                                   category income     category income     category income   (category code     )
                                                                                                15 Net section 1231 gain
                                                                                                  A
                                                                                                  B
                                                                                                  C
                                                                                                16 Section 986(c) gain . . . . . . . . . . . . . . . . . . . . . .
                                                                                                17 Section 987 gain . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                18 Section 988 gain . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                19 Section 951(a) inclusions
                                                                                                  A
                                                                                                  B
                                                                                                  C
                                                                                                20 Other income (see instructions)
                                                                                                  A
                                                                                                  B
                                                                                                  C
                                                                                                21 Section 951A(a) inclusions (see
                                                                                                    instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                22 Reserved for future use
                                                                                                  A
                                                                                                  B
                                                                                                  C
                                                                                                23 Reserved for future use
                                                                                                  A
                                                                                                  B
                                                                                                  C
                                                                                                24 Total gross income (combine lines 1
                                                                                                    through 23) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           836,276                                                                                                                 836,276
                                                                                                  A US                                                                                836,276                                                                                                                 836,276
                                                                                                  B
                                                                                                  C
                                                                                                                                                                                                                                                                                           Schedule K-2 (Form 1120-S) 2023
                                                                                               DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
                                                                                                                                                                                                                                                                                                              Page 4
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 75 of 83




                                                                                               Schedule K-2 (Form 1120-S) 2023
                                                                                               Name of corporation                                                                                                                                                                       EIN
                                                                                                  COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                                     XX-XXXXXXX
                                                                                                Part II   Foreign Tax Credit Limitation (continued)
                                                                                                Section 2—Deductions
                                                                                                                                                                                                                               Foreign Source
                                                                                                                                                                                                                                                                                (f) Sourced by         (g) Total
                                                                                                                          Description                                      (a) U.S. source   (b) Foreign branch      (c) Passive         (d) General            (e) Other
                                                                                                                                                                                                                                                                                  shareholder
                                                                                                                                                                                              category income     category income      category income   (category code     )
                                                                                                25 Expenses allocable to sales income .                                          932,535                                                                                                                  932,535
                                                                                                26 Expenses allocable to gross income
                                                                                                    from performance of services . . . . . . .
                                                                                                27 Net short-term capital loss . . . . . . . . . . .
                                                                                                28 Net long-term capital loss . . . . . . . . . . .
                                                                                                29 Collectibles loss . . . . . . . . . . . . . . . . . . . . .
                                                                                                30 Net section 1231 loss . . . . . . . . . . . . . . . .
                                                                                                31 Other losses . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                32 Research & experimental (R&E) expenses
                                                                                                  A SIC code: . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                  B SIC code: . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                  C SIC code: . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                33 Allocable rental expenses—
                                                                                                    depreciation, depletion, and amortization .
                                                                                                34 Allocable rental expenses—other than
                                                                                                    depreciation, depletion, and amortization .
                                                                                                35 Allocable royalty and licensing
                                                                                                    expenses—depreciation, depletion,
                                                                                                    and amortization . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                36 Allocable royalty and licensing
                                                                                                    expenses—other than depreciation,
                                                                                                    depletion, and amortization . . . . . . . . . . . . . .
                                                                                                37 Depreciation not included on line 33
                                                                                                    or line 35 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           10,443                                                                                                                  10,443
                                                                                                38 Charitable contributions . . . . . . . . . . . . .
                                                                                                39 Interest expense specifically allocable
                                                                                                    under Regulations section 1.861-10(e) . . .
                                                                                                40 Other interest expense specifically
                                                                                                    allocable under Regulations section
                                                                                                    1.861-10T . . . . . . . . . . . . . . . . . . . . . . . . . . . .              60,301                                                                                                                  60,301
                                                                                                41 Other interest expense—business . .
                                                                                                42 Other interest expense—investment
                                                                                                43 Other interest expense—passive activity . .
                                                                                                44 Section 59(e)(2) expenditures,
                                                                                                    excluding R&E expenses on line 32 .
                                                                                                45 Foreign taxes not creditable but
                                                                                                    deductible . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                                                                                                                                       Schedule K-2 (Form 1120-S) 2023
                                                                                               DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 76 of 83




                                                                                             Schedule K-2 (Form 1120-S) 2023                                                                                                                                                                                              Page 5
                                                                                             Name of corporation                                                                                                                                                                                            EIN
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                                                           XX-XXXXXXX
                                                                                               Part II   Foreign Tax Credit Limitation (continued)
                                                                                               Section 2—Deductions (continued)
                                                                                                                                                                                                                                       Foreign Source
                                                                                                                                                                                                                                                                                         (f) Sourced by
                                                                                                                                 Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive        (d) General           (e) Other                                 (g) Total
                                                                                                                                                                                                                                                                                           shareholder
                                                                                                                                                                                                        category income     category income     category income   (category code     )
                                                                                                46       Section 986(c) loss . . . . . . . . . . . . . . . . . . . . . .
                                                                                                47       Section 987 loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                48       Section 988 loss . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                49       Other allocable deductions (see
                                                                                                         instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                50       Other apportioned share of
                                                                                                         deductions (see instructions) . . . . . . . . . . . .
                                                                                                51       Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                52       Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                53       Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                54       Total deductions (combine lines 25
                                                                                                         through 53) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       1,003,279                                                                                                                  1,003,279
                                                                                                55       Net income (loss) (subtract line 54
                                                                                                         from line 24) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         -167,003                                                                                                                  -167,003
                                                                                               Part III  Other Information for Preparation of Form 1116
                                                                                               Section 1—R&E Expenses Apportionment Factors
                                                                                                                                                                                                                                     Foreign Source
                                                                                                                                                                                                                                                                         (e) Other       (f) Sourced by
                                                                                                                                 Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive       (d) General                                                      (g) Total
                                                                                                                                                                                                                                                                  (category code     )     shareholder
                                                                                                                                                                                                        category income     category income    category income
                                                                                                                                                                                                                                                                     (country code   )
                                                                                                 1       Gross receipts by SIC code
                                                                                                     A      SIC code:
                                                                                                     B      SIC code:
                                                                                                     C      SIC code:
                                                                                                     D      SIC code:
                                                                                                     E      SIC code:
                                                                                                     F      SIC code:
                                                                                                 2          Exclusive apportionment with respect to total R&E expenses entered on Part II, line 32. Enter the following.
                                                                                                     A      R&E expense with respect to activity performed in the United States
                                                                                                            (i)   SIC code:           . .........................................................................................................................................                  2A(i)
                                                                                                            (ii) SIC code:            . .........................................................................................................................................                 2A(ii)
                                                                                                            (iii) SIC code:           . .........................................................................................................................................                 2A(iii)
                                                                                                     B      R&E expense with respect to activity performed outside the United States
                                                                                                            (i)   SIC code:           . .........................................................................................................................................                 2B(i)
                                                                                                            (ii)  SIC code:           . .........................................................................................................................................                2B(ii)
                                                                                                            (iii) SIC code:           . .........................................................................................................................................                2B(iii)
                                                                                                                                                                                                                                                                                            Schedule K-2 (Form 1120-S) 2023
                                                                                             DAA
                                                                                        00068GIWIAU 06/13/2024 9:48 AM
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 77 of 83




                                                                                             Schedule K-2 (Form 1120-S) 2023                                                                                                                                                                                         Page 6
                                                                                             Name of corporation                                                                                                                                                                                       EIN
                                                                                               COWAN FITNESS SOUTH ROUND ROCK LLC                                                                                                                                                                      XX-XXXXXXX
                                                                                               Part III              Other Information for Preparation of Form 1116 (continued)
                                                                                               Section 2—Interest Expense Apportionment Factors
                                                                                                                                                                                                                                    Foreign Source
                                                                                                                                                                                                                                                                      (e) Other       (f) Sourced by
                                                                                                                                Description                                         (a) U.S. source   (b) Foreign branch      (c) Passive      (d) General                                                   (g) Total
                                                                                                                                                                                                                                                               (category code     )     shareholder
                                                                                                                                                                                                       category income     category income   category income
                                                                                                                                                                                                                                                                  (country code   )
                                                                                                 1     Total average value of assets . . . . . . . . . . .                               916,612                                                                                                               916,612
                                                                                                 2 Reserved for future use . . . . . . . . . . . . . . . . .
                                                                                                 3 Assets attracting directly allocable
                                                                                                    interest expense under Regulations
                                                                                                    section 1.861-10(e) . . . . . . . . . . . . . . . . . . . . . .
                                                                                                 4 Other assets attracting directly
                                                                                                    allocable interest expense under
                                                                                                    Regulations section 1.861-10T . . . . . . . . . .
                                                                                                 5 Assets excluded from apportionment
                                                                                                    formula . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                 6a Total assets used for apportionment
                                                                                                    (subtract the sum of lines 3, 4, and 5
                                                                                                    from the sum of lines 1 and 2) . . . . . . . . . . .                                 916,612                                                                                                               916,612
                                                                                                  b Assets attracting business interest
                                                                                                    expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                  c Assets attracting investment interest
                                                                                                    expense . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                  d Assets attracting passive activity
                                                                                                    interest expense . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                 7 Basis in stock of 10%-owned
                                                                                                    noncontrolled foreign corporations
                                                                                                    (see attachment) . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                 8  Basis in stock of CFCs (see attachment) . . . . . . . . .
                                                                                                                                                                                                                                                                                         Schedule K-2 (Form 1120-S) 2023
                                                                                             DAA
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 78 of 83




Location:                                       OT - 0308 Round Rock
                                                (Closed through 01-31-2025)


Balance Sheet

Reporting Date:                                                Jan 2025

Assets

Horizon Bank Checking *3574                                                     18,410.80
Petty Cash                                                                         167.57
Total Cash and Cash Equivalents                                                 18,578.37

Cash Clearing                                                                      129.82
Credit Card Clearing                                                             5,075.82
Transfer Clearing                                                                      -
Bill.com Clearing                                                                   98.45
Due To/From - OT - 0105 Round Rock University                                  (77,289.95)
Due To/From - OT - 0621 Pflugerville                                          (334,568.52)
Inventory                                                                       24,818.61
Prepaid Expenses - General                                                      11,650.49
Total Other Current Assets                                                    (370,085.28)

Total Current Assets                                                          (351,506.91)

Equipment                                                                      273,699.69
Computer Equipment                                                              11,996.08
Furniture & Fixtures                                                            15,411.12
Leasehold Improvements                                                         318,409.02
Accumulated Depreciation                                                      (552,438.10)
Total Property & Equipment                                                      67,077.81

Deposits - Rent & Other                                                      22,817.33
Franchise Fee                                                                22,550.00
Loan Origination Fee                                                         45,797.05
Goodwill                                                                  1,310,469.72
Accumulated Amortization                                                   (723,270.73)
Total Other Long-Term Assets                                                678,363.37

TOTAL ASSETS                                                                  393,934.27

Liabilities

Accounts Payable                                                                31,360.20
Total Accounts Payable                                                          31,360.20

Amex Credit Card *52004 (51006)                                                  2,067.19
Wells Fargo Line Of Credit *4124                                                27,568.07
Total Credit Cards                                                              29,635.26

Donations Payable                                                                      -
Payroll Clearing                                                                       -
Sales Tax Payable                                                                   90.54
Royalties Payable                                                                1,797.12
Unmapped Liability Accounts                                                     39,820.82
Total Other Current Liabilities                                                 41,708.48

Total Current Liabilities                                                     102,703.94

Berkshire Loan*2776                                                             5,198.77
Berkshire Loan*0865                                                             1,165.26
Emergency Disaster Loan                                                       350,000.00
Wells Fargo Loan                                                              418,967.59
Owner Loan                                                                    191,738.85
Total Long Term Liabilities                                                   967,070.47

TOTAL LIABILITIES                                                         1,069,774.41

Equity

Retained Earnings                                                             (679,831.26)
Owner Equity - Gregory Cowan - 50%                                              33,673.34
Prior Period Adjustment                                                        (79,192.17)
Owner Contributions - Gregory Cowan - 50%                                         9,750.00
Owner Distributions - Gregory Cowan - 50%                                               -
Owner Equity - Kathy Cowan - 50%                                                33,673.33
Owner Contributions - Kathy Cowan - 50%                                           9,750.00
Owner Distributions - Kathy Cowan - 50%                                                 -
Unmapped Equity Accounts                                                                -
Net Income                                                                       (3,663.38)
Total Equity                                                                  (675,840.14)

TOTAL EQUITY                                                                  (675,840.14)

TOTAL LIABILITIES AND EQUITY                                                  393,934.27
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 79 of 83




Store Number:                                                                                                   0308
                                                                                              OT - 0308 Round Rock
Location:
                                                                                        (Closed through 01-31-2025)
Start Date:                                                                                                 1/1/2025
End Date:                                                                                                  1/31/2025

Cash Flow Statement

Cash Flow                                                                                                                    Total


Cash Flows from Operating Activities


Net Income                                                                                                             (3,663.38)
Adjustments required to reconcile net income (loss) to net cash provided by (used in)
operating activities.
Other Current Assets                                                                                                   (1,124.84)
Intercompany Accounts                                                                                                   1,695.84
Accounts Payable                                                                                                       12,111.38
Credit Card Accounts                                                                                                   (1,319.77)
Other Current Liabilities                                                                                              (1,464.80)
Net cash provided by (used in) operating activities                                                                     6,234.43


Cash Flows from Investing Activities


Net cash provided by (used for) investing activities                                                                                0


Cash Flows from Financing Activities


Change in Cash Related to Debt                                                                                         (1,763.97)
Contributions/Distributions of Equity                                                                                  (2,500.00)
Net cash provided by (used for) financing activities                                                                   (4,263.97)
Unmapped Liability Accounts                                                                                            (3,958.34)
Net Increase (Decrease) in Cash and Cash Equivalents                                                                   (1,987.88)

Cash and Cash Equivalents at Beginning of Period                                                                        20,566.25
Cash and Cash Equivalents at End of Period                                                                             18,578.37
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 80 of 83




Store Number:                             0308
Location:                                 OT - 0308 Round Rock
                                          (Closed through 01-31-2025)
Start Date:                               1/1/2025
End Date:                                 1/31/2025

PROFIT AND LOSS
                                                                                   % of
                                          Jan 2025                                 Total Revenue
Drop In Revenue                                                            140.00            0.25%
Package Revenue                                                            720.00            1.30%
Membership Revenue                                                      54,329.15           97.85%
Freeze Fee                                                                  60.00            0.11%
Internal Events                                                          2,765.00            4.98%
Late Cancel/No Show                                                        726.00            1.31%
OT Beat Rental                                                              30.00            0.05%
Additional Classes                                                         126.00            0.23%
Accessories                                                                 19.95            0.04%
Food & Drinks                                                               14.50            0.03%
OT Beats Revenue                                                         2,142.02            3.86%
Cross Regional Classes                                                  (4,497.50)          -8.10%
Account                                                                 (1,052.00)          -1.89%
Total Revenue                                                           55,523.12          100.00%

Direct Labor - Trainer/Instructor Wages                                 20,002.49          36.03%
Direct Labor - Trainer/Instructor Bonus                                  1,283.00           2.31%
Merchant Charges                                                         1,645.55           2.96%
Retail Product Costs                                                         0.75           0.00%
Total Cost of Goods/Services                                            22,931.79          41.30%

Gross Profit                                                            32,591.33          58.70%

Total Personnel (Fixed Costs)                                                 -             0.00%

Payroll Taxes                                                            1,830.57           3.30%
Reimbursed Expenses                                                        150.00           0.27%
Payroll Processing Fees                                                    758.59           1.37%
Officers Health Insurance                                                   80.85           0.15%
Total Personnel (Other Costs)                                            2,820.01           5.08%

Rent                                                                    23,437.35          42.21%
Utilities                                                                1,016.87           1.83%
Music System                                                               360.00           0.65%
Janitorial Expense                                                         173.68           0.31%
Total Facility                                                          24,987.90          45.00%

General Liability Insurance                                               631.63            1.14%
Total Insurance                                                           631.63            1.14%

Direct Marketing                                                         1,250.00           2.25%
National Marketing Fund                                                  1,797.12           3.24%
Total Marketing                                                          3,047.12           5.49%

Professional Fees - Accounting                                             603.13           1.09%
Software Lease/Support                                                   1,048.00           1.89%
Royalty Fees                                                             2,968.21           5.35%
Office Supplies                                                            658.43           1.19%
Equipment Repairs & Maintenance                                            918.75           1.65%
Operating In/Out                                                          (130.00)         -0.23%
Total General and Administrative                                         6,066.52          10.93%

Total Expenses                                                          37,553.18          67.64%

Net Operating Income                                                    (4,961.85)         -8.94%

Total Other Income                                                            -             0.00%

Taxes - Local                                                            2,391.97           4.31%
Miscellaneous Expense                                                       13.69           0.02%
SBA Interest Expense                                                       446.42           0.80%
Finance Charge                                                             349.45           0.63%
For Accountant Review                                                   (4,500.00)         -8.10%
Total Other Expenses                                                    (1,298.47)         -2.34%

Net Income                                                              (3,663.38)         -6.60%

EBITDA                                                                  (2,867.51)         -5.16%
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 81 of 83




Location:                                       OT - 0308 Round Rock
                                                (Closed through 01-31-2025)


Balance Sheet

Reporting Date:                                                Dec 2024

Assets

Horizon Bank Checking *3574                                                     20,398.68
Petty Cash                                                                         167.57
Total Cash and Cash Equivalents                                                 20,566.25

Cash Clearing                                                                      129.82
Credit Card Clearing                                                             3,879.94
Transfer Clearing                                                                      -
Bill.com Clearing                                                                      -
Due To/From - OT - 0105 Round Rock University                                  (79,789.95)
Due To/From - OT - 0621 Pflugerville                                          (330,372.68)
Inventory                                                                       24,818.61
Total Other Current Assets                                                    (381,334.26)

Total Current Assets                                                          (360,768.01)

Equipment                                                                      273,699.69
Computer Equipment                                                              11,996.08
Furniture & Fixtures                                                            15,411.12
Leasehold Improvements                                                         318,409.02
Accumulated Depreciation                                                      (552,438.10)
Total Property & Equipment                                                      67,077.81

Deposits - Rent & Other                                                      22,817.33
Franchise Fee                                                                22,550.00
Loan Origination Fee                                                         45,797.05
Goodwill                                                                  1,310,469.72
Accumulated Amortization                                                   (723,270.73)
Total Other Long-Term Assets                                                678,363.37

TOTAL ASSETS                                                                  384,673.17

Liabilities

Accounts Payable                                                                 7,598.33
Total Accounts Payable                                                           7,598.33

Amex Credit Card *52004 (51006)                                                  2,536.41
Wells Fargo Line Of Credit *4124                                                28,418.62
Total Credit Cards                                                              30,955.03

Donations Payable                                                                      -
Payroll Clearing                                                                       -
Sales Tax Payable                                                                  335.26
Royalties Payable                                                                3,017.20
Unmapped Liability Accounts                                                     43,779.16
Total Other Current Liabilities                                                 47,131.62

Total Current Liabilities                                                       85,684.98

Berkshire Loan*2776                                                             5,770.34
Berkshire Loan*0865                                                             2,357.66
Emergency Disaster Loan                                                       350,000.00
Wells Fargo Loan                                                              418,967.59
Owner Loan                                                                    191,738.85
Total Long Term Liabilities                                                   968,834.44

TOTAL LIABILITIES                                                         1,054,519.42

Equity

Retained Earnings                                                             (629,259.98)
Owner Equity - Gregory Cowan - 50%                                              33,673.34
Prior Period Adjustment                                                        (79,192.17)
Owner Contributions - Gregory Cowan - 50%                                        9,750.00
Owner Distributions - Gregory Cowan - 50%                                        2,500.00
Owner Equity - Kathy Cowan - 50%                                                33,673.33
Owner Contributions - Kathy Cowan - 50%                                          9,750.00
Owner Distributions - Kathy Cowan - 50%                                                -
Unmapped Equity Accounts                                                               -
Net Income                                                                     (50,740.77)
Total Equity                                                                  (669,846.25)

TOTAL EQUITY                                                                  (669,846.25)

TOTAL LIABILITIES AND EQUITY                                                  384,673.17
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 82 of 83




Store Number:                                                                                                   0308
                                                                                              OT - 0308 Round Rock
Location:
                                                                                        (Closed through 01-31-2025)
Start Date:                                                                                                 1/1/2024
End Date:                                                                                                 12/31/2024

Cash Flow Statement

Cash Flow                                                                                                                      Total


Cash Flows from Operating Activities


Net Income                                                                                                              (50,740.77)
Adjustments required to reconcile net income (loss) to net cash provided by (used in)
operating activities.
Other Current Assets                                                                                                     46,690.22
Intercompany Accounts                                                                                                   133,019.94
Accounts Payable                                                                                                          6,039.33
Credit Card Accounts                                                                                                     28,213.65
Other Current Liabilities                                                                                                 3,352.46
Net cash provided by (used in) operating activities                                                                     166,574.83


Cash Flows from Investing Activities


Purchase/Sale of Fixed Assets                                                                                            12,000.00
Net cash provided by (used for) investing activities                                                                     12,000.00


Cash Flows from Financing Activities


Change in Cash Related to Debt                                                                                         (110,339.58)
Contributions/Distributions of Equity                                                                                   (69,192.17)
Net cash provided by (used for) financing activities                                                                   (179,531.75)
Unmapped Liability Accounts                                                                                             (16,220.84)
Net Increase (Decrease) in Cash and Cash Equivalents                                                                    (17,177.76)

Cash and Cash Equivalents at Beginning of Period                                                                          37,744.01
Cash and Cash Equivalents at End of Period                                                                               20,566.25
25-10395-smr Doc#1 Filed 03/24/25 Entered 03/24/25 18:39:50 Main Document Pg 83 of 83




Store Number:                             0308
Location:                                 OT - 0308 Round Rock
                                          (Closed through 01-31-2025)
Start Date:                               1/1/2024
End Date:                                 12/31/2024

PROFIT AND LOSS
                                                                                      % of
                                          Jan 2024 - Dec 2024                         Total Revenue
Drop In Revenue                                                           1,558.00              0.23%
Package Revenue                                                           8,131.00              1.23%
Membership Revenue                                                      678,396.00            102.23%
Freeze Fee                                                                1,350.00              0.20%
Internal Events                                                           7,675.00              1.16%
Late Cancel/No Show                                                       6,682.00              1.01%
OT Beat Rental                                                               60.00              0.01%
Additional Classes                                                        1,794.00              0.27%
Accessories                                                                 685.90              0.10%
Clothing                                                                    286.00              0.04%
Food & Drinks                                                               956.00              0.14%
OT Beats Revenue                                                         12,851.77              1.94%
Cross Regional Classes                                                  (52,390.00)            -7.89%
Account                                                                  (2,810.82)            -0.42%
Chargebacks                                                              (1,624.00)            -0.24%
Total Revenue                                                           663,600.85            100.00%

Direct Labor - Trainer/Instructor Wages                                 293,817.95            44.28%
Direct Labor - Trainer/Instructor Bonus                                  16,877.22             2.54%
Merchant Charges                                                         19,747.00             2.98%
Retail Product Costs                                                     14,883.37             2.24%
Total Cost of Goods/Services                                            345,325.54            52.04%

Gross Profit                                                            318,275.31            47.96%

Total Personnel (Fixed Costs)                                                  -               0.00%

Payroll Taxes                                                            25,127.59             3.79%
Reimbursed Expenses                                                       4,063.85             0.61%
Payroll Processing Fees                                                   5,674.86             0.86%
Officers Health Insurance                                                   970.20             0.15%
Total Personnel (Other Costs)                                            35,836.50             5.40%

Rent                                                                    138,263.80            20.84%
Repairs & Maintenance                                                     1,395.60             0.21%
Utilities                                                                11,047.25             1.66%
Music System                                                                176.45             0.03%
Cleaning                                                                  9,568.69             1.44%
Janitorial Expense                                                          217.10             0.03%
Telephone/Internet Expense                                                  521.81             0.08%
Total Facility                                                          161,190.70            24.29%

General Liability Insurance                                               5,177.03             0.78%
Total Insurance                                                           5,177.03             0.78%

Direct Marketing                                                         20,225.36             3.05%
National Marketing Fund                                                  21,431.13             3.23%
Contestant Incentive                                                      1,000.00             0.15%
Total Marketing                                                          42,656.49             6.43%

Professional Fees - Accounting                                            9,517.90             1.43%
Professional Fees - Legal                                                 2,799.00             0.42%
Computer & Software                                                         438.09             0.07%
Software Lease/Support                                                   12,576.00             1.90%
Royalty Fees                                                             29,270.41             4.41%
Printing and Reproduction                                                 4,070.11             0.61%
Office Supplies                                                           2,488.15             0.37%
Dues and Subscriptions                                                    1,631.92             0.25%
Equipment Repairs & Maintenance                                          12,737.48             1.92%
Bank Service Charges                                                         35.00             0.01%
Music/On Hold                                                                80.02             0.01%
Total General and Administrative                                         75,644.08            11.40%

Total Expenses                                                          320,504.80            48.30%

Net Operating Income                                                     (2,229.49)           -0.34%

Other Miscellaneous Income                                                  518.15             0.08%
Total Other Income                                                          518.15             0.08%

Taxes - Local                                                             2,647.51             0.40%
Miscellaneous Expense                                                       212.49             0.03%
Automobile Expense                                                           62.19             0.01%
Meals                                                                        59.10             0.01%
Travel Expense                                                               71.22             0.01%
SBA Interest Expense                                                     41,133.30             6.20%
Finance Charge                                                            4,843.62             0.73%
Total Other Expenses                                                     49,029.43             7.39%

Net Income                                                              (50,740.77)           -7.65%

EBITDA                                                                   (4,763.85)           -0.72%
